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                  UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW JERSEY


I N RE I NSULIN P RICING L ITIGATION     Civil Action No. 2:17-cv-00699
                                         (BRM)(ESK)



      PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
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                                I.     I NTRODUCTION

        Common evidence—medical expert testimony, medical literature, and the

defendants’ own documents—shows there is no stronger example of an unavoidable

consumer purchase than prescribed analog insulin. People living with diabetes who

have been prescribed these drugs must inject it to survive. And common evidence—

the defendants’ own files, data from a multitude of pharmaceutical industry sources,

and expert testimony—shows that the defendants, Eli Lilly and Co. (Lilly), Novo

Nordisk Inc. (Novo), and Sanofi-Aventis U.S. LLC (Sanofi), consciously took

advantage of this lack of patient choice to effectuate an unfair and unconscionable

pricing scheme that injured all class members. In a fair and open market, companies

that manufacture completely interchangeable products should compete on price,

benefiting consumers. Instead, the defendants competed by inflating their analog

insulin list prices—to the severe detriment of the class members who pay based on

these prices—so that they could offer secret rebates to the largest pharmacy benefit

managers (PBMs) and insurers. In short, the defendants’ “artificially inflated

AWPs . . . caus[ed] gross overpayments among the most vulnerable members of

society.”1 For these reasons, the plaintiffs seek certification of nationwide and state-



    1
    In re Insulin Pricing Litig., No. 17-699, 2019 WL 643709, at *15 (D.N.J. Feb. 15,
2019).



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specific classes. All proposed classes should be certified.

      First, all classes meet the Rule 23(a) requirements. Because around seven

million Americans take the analog insulins at issue in this lawsuit, the classes readily

meet Rule 23(a)(1)’s numerosity requirement. Rule 23(a)(2) is also satisfied because

common issues of law and fact regarding defendants’ liability abound. The adequacy

requirement of Rule 23(a)(3) is met because the class representatives have shown

dogged commitment to their representation of the classes over the past five years:

they have sat for depositions, gathered extensive medical documentation, and

demonstrated no conflicts with the classes. Finally, under Rule 23(a)(4), these

representatives’ claims are typical as they mirror those of all class members. All the

class representatives’ claims are based on the defendants’ unconscionable and unfair

conduct and the resulting financial losses.

      Second, the proposed classes satisfy Rule 23(b)(3) because the plaintiffs will use

only common evidence to prove the defendants’ liability. Common evidence shows

that the defendants acted in an unconscionable and unfair manner by competing for

access to the largest PBM and health insurer formularies by raising their list prices,

rather than dropping them, so that they could offer these middlemen bloated

rebates—i.e., spreads between list and net price. This decision—to compete through

increasing prices, rather than decreasing them—turned the normal rules governing a




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fair and public marketplace on their head. Competition between drug companies

should lower healthcare costs for sick individuals. But the defendants stripped the

classes of this benefit by competing based on increased list prices and corresponding

spreads to PBMs and insurers. Common evidence reveals that, today, the list prices

that drive class payments are, on average, 60% higher than those offered to PBMs.2

        Third, common evidence will prove this conduct inflicted “substantial injury”3

on the class members because these individuals—Americans who take analog insulin

and must pay cash, coinsurance, or deductibles for these essential medicines—

purchase these drugs based directly on the defendants’ list prices. The plaintiffs’

experts—Dr. Meredith Rosenthal (a well-respected health economist) and Matthew

Wine (a retail pharmacy industry expert)—explain why and how coinsurance,

deductible, Medicare Part D,4 and cash5 patients pay based on the defendants’ list



    2
      Expert Report of Dr. Meredith Rosenthal ¶ 55, Table 1, dated March 1, 2022
(hereinafter, “Rosenthal Report”), attached as Ex. 1 to the Declaration of Steve W.
Berman, dated March 1, 2022 (“Berman Decl.”). All citations to Exhibits in this
brief are Exhibits to the Berman Declaration.
    3
     See FTC v. Wyndham Worldwide Corp., 799 F.3d 236, 244 (3d Cir. 2015); see also
Tex. Bus. & Com. Code §§ 17.50(a)(3), 17.45(5) (this practice was to the
“consumer’s detriment”).
    4
     The standard Medicare Part D plans have both coinsurance and deductible
requirements.
    5
     Cash payers are usually uninsured individuals. Any reference to payments by
uninsured patients in this brief is a reference to cash payers.



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prices. To support these explanations, the experts rely not only on their industry

knowledge but also the declarations and testimony of the major retail pharmacy

chains (CVS Pharmacy, Rite Aid, Walmart, and Kroger) that the plaintiffs secured.

Dr. Rosenthal further performs a statistical test on list price, insurer, and retail

pricing data to prove that the class members pay for the relevant analog insulins

based on the defendants’ list prices. This common evidence shows impact to all or

virtually all the class members: the defendants’ unfair and unconscionable pricing

scheme forced the class members to overpay for their analog insulins.6 Common

evidence shows these injuries were not “reasonably avoidable”7 because the class

members must purchase their prescribed analog insulin(s) to survive.

         Fourth, the plaintiffs will also establish aggregate damages on a class-wide basis

through common evidence—an analysis by Dr. Rosenthal. To calculate aggregate

damages, Dr. Rosenthal first applies a statistical methodology to data from

pharmaceutical industry sources (common evidence) to determine when the

defendants’ unfair pricing schemes began. Next, Dr. Rosenthal quantifies the average

relationship between the defendants’ list and net prices for their analog insulins in

the period before the start of the scheme. This calculation yields the “but-for” list



    6
        Rosenthal Report at Part VI.
    7
        See Wyndham, 799 F.3d at 244.



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price that the class members would have paid absent the defendants’ misconduct. Dr.

Rosenthal then uses this but-for list price to recalculate what the class members

should have paid, absent the pricing scheme. This determination is subtracted from

the class members’ real out-of-pocket payments to reach aggregate damages. Finally,

Dr. Rosenthal adjusts her aggregate damages calculation to account for copay

coupons and vouchers that were paid to offset some consumer purchases for the

drugs at issue. For class certification purposes, from the start of the class periods

through 2018, Dr. Rosenthal calculates that: (1) national overcharges are $512.9

million for Novo and $518.0 million for Sanofi, totaling $1.031 billion; and (2)

overcharges for the state classes are $160.7 million for Lilly, $237.5 million for Novo,

and $206.9 million for Sanofi, totaling $605.1 million.8

         Fifth, the classes are ascertainable. The prescription drug industry is the most

data rich in the world. Every step in the chain of distribution is documented with

accessible data. The plaintiffs will use a combination of electronically stored records

from the major PBMs, retail pharmacies, insurers, and drug coupon administrators—

records available for the entire class period—to identify class members. Indeed, many

of the major PBMs, insurers, and retail pharmacies have already produced samples of

this data stretching back to the beginning of the class periods. Dr. Rosenthal uses


    8
        Rosenthal Report ¶ 2.



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this data to prove that class members can be identified and their damages calculated.

In addition, PBM declarants, an insurance industry declarant, coupon

administrators, and a claims administrator with expertise in distributing damages to

nearly identical drug purchaser classes all confirm such records can be used to

identify the class members who purchased the relevant analog insulins in the class

periods. Indeed, the same methods have been used in analogous prior cases to

identify consumers who paid coinsurance or cash for drugs.

      Sixth and finally, the classes are manageable. The plaintiffs selected states with

no meaningful variations in the relevant legal standards. If the Court certifies all the

classes, a jury need only consider three legal standards: (1) “unconscionability” under

New Jersey law; (2) a three-part FTC test for “unfair” acts under the laws of sixteen

states; and (3) “unconscionability” under Texas law.

      The plaintiffs request the Court certify the classes under Rules 23(b)(2) and

23(b)(3), appoint the proposed class representatives, and appoint class counsel.

           II.    FACTUAL B ACKGROUND C OMMON TO THE C LASSES

      Plaintiffs will rely on common evidence to establish defendants’ liability,

impact to the classes, and aggregate damages under the three legal tests that would be

presented to the jury if all classes are certified. All three of those standards examine,




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in large part, whether a defendant has unfairly “take[n] advantage”9 of a consumer

who cannot “reasonably avoid[]”10 purchase of the product at issue.

         First, under the NJCFA, an “unconscionable commercial practice” is a practice

that lacks good faith, honesty in fact and observance of fair dealing.11 “Unfairly

capitalizing on Plaintiffs’ lack of choice for critical services may be ‘unconscionable,’

even without deception.”12

         Second, the sixteen states named in the multi-state classes provide the exact

same legal standard for “unfair” acts. Under that test, an act or practice is unfair if it

causes a substantial injury that is not reasonably avoidable by consumers and that is

not outweighed by the benefits to consumers or competition.13

         Third, an “unconscionable action” under Texas Law is an act or practice that,

to a consumer’s detriment, takes advantage of the lack of knowledge, ability,

experience, or capacity of the consumer to a grossly unfair degree.14 This section



    9
        Tex. Bus. & Com. Code §§ 17.50(a)(3), 17.45(5).
    10
         Wyndham, 799 F.3d at 244.
    11
       James v. Glob. Tel*Link Corp. (“James I”), No. 13-4989, 2018 WL 3736478, at
*7-*8 (D.N.J. Aug. 6, 2018).
    12
     James v. Glob. Tel*Link Corp. (“James II”), No. 13-4989, 2020 WL 998858, at *4
(D.N.J. Mar. 2, 2020).
    13
         See Wyndham, 799 F.3d at 244.
    14
         Tex. Bus. & Com. Code §§ 17.50(a)(3), 17.45(5).



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previews the common evidence the plaintiffs will present to a jury to prove the

defendants’ liability under those standards.

A.        Plaintiffs will use common evidence to show that the class members could
          not reasonably avoid purchase of their prescribed analog insulins.

          Common evidence—medical expert testimony, medical literature, and the

defendants’ own documents—show there is no stronger example of an unavoidable

consumer purchase than prescribed analog insulin.

     1.       People who take prescribed analog insulin cannot forgo the drug.

          Diabetes is a chronic and life-threatening condition that occurs when a person

has too much glucose (i.e., sugar) in the bloodstream.15 Inadequate management of

insulin levels leads to a constellation of severe health issues. Too much or too little

blood sugar can trigger three fatal medical emergencies.16 And sustained high blood

sugar levels, even when they do not lead to death, can cause severe complications:

diabetes is the leading cause of kidney failure, adult-onset blindness, and lower-limb

amputations in the United States.17


     15
      See Ex. 3, Expert Report of Dr. James Flory ¶ 25, dated Mar. 1, 2022
(hereinafter, “Flory Report”).
     16
       Flory Report ¶¶ 30-34. Diabetic ketoacidosis (DKA) and hyperosmolar
hyperglycemic states result in approximately 248,000 emergency room visits every
year in the United States, with 86% of those emergency room visits resulting in
hospital admissions. Flory Report ¶ 34. Conservatively, DKA admissions alone have
a direct cost $600,000,000 annually. Flory Report ¶ 34.
     17
          Flory Report ¶¶ 35-39.



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        Common evidence demonstrates that all people living with Type 1 diabetes

and about a quarter of Type 2 diabetes patients must consistently inject prescribed

insulins to avoid these medical emergencies and severe harms.18 Rationing insulin or

skipping doses leads to the conditions described above. Indeed, in the past few years,

there have been numerous documented cases—known to the defendants—of

individuals who have died because they could not afford their insulins and were

forced to ration them.19 For the patients that take them, prescribed analog insulins

are not products they can reasonably forgo.20

        Finally, common evidence will demonstrate that people living with diabetes—




   18
       Flory Report ¶ 27. There are two basic types of diabetes: Type 1 and Type 2.
Flory Report ¶ 25; Ex. 144, NNI-IP_01036245 at -47 to -48; Ex. 163,
SANJ00308128 at -35. “Type 2 diabetes is much more common than type 1: of the
37.3 million people in the United States with diabetes, 95% have type 2 diabetes.”
Flory Report ¶ 25. “Type 1 diabetes occurs when a process (usually an autoimmune
condition) destroys the cells that make insulin, rendering patients totally or near-
totally insulin deficient. Type 2 diabetes usually is caused initially by high insulin
resistance.” Flory Report ¶ 25. Unlike Type 2 patients, individuals living with Type 1
must rely on insulin from diagnosis until death. Flory Report ¶¶ 25, 27; Ex. 99,
LLYDNJPR00902357 at -57; Ex. 163, SANJ00308128 at -35.
   19
      Right Care Alliance, High Insulin Costs Are Killing Americans,
https://rightcarealliance.org/activities/insulin/#:~:text=Rationing%20is%20extrem
ely%20dangerous%20and,Five%20died%20in%202019 (last visited Feb. 26, 2022).
   20
        Flory Report ¶ 27; cf. Rosenthal Report ¶ 17.



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both Type 1 and 2—are among the most vulnerable21 in the United States. They are

disproportionately elderly, low-income, sick, and minorities.22 The number of class

representatives who have died over the course of this litigation speaks to that

reality.23 People with less education are more likely to develop diabetes, and there are

well-documented “biological and economic reasons for th[e] strong association

between diabetes and socioeconomic disadvantage.”24

    2.       All class members were prescribed analog insulins.

         Common evidence will also show that once prescribed an analog insulin, a

class member could not reasonably avoid its purchase. In 1921, Frederick Banting

and Charles Best pioneered a technique for removing active insulin from an animal

pancreas to treat humans with diabetes.25 Despite animal insulin’s “public health

significance,”26 doctors no longer prescribe it because more advanced alternatives




    21
     In re Insulin, 2019 WL 643709, at *15 (“Plaintiffs adequately pled . . . that
Defendants’ artificially inflated AWPs thereby causing gross overpayments among
the most vulnerable members of society.”).
    22
         Flory Report ¶ 26.
    23
       See ECF Nos. 281, 384, 385, 405,413, 517, 518, 519, 520, 521, 522 (notices
of plaintiff deaths).
    24
         Flory Report ¶ 26.
    25
       Ex. 190, Jeremy A. Greene & Kevin R. Riggs, Why Is There No Generic Insulin?
Historical Origins of a Modern Problem, 372 N. Eng. J. Med. 1171, 1171 (2015).
    26
         Id. at 1172.



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exist.27

         By the 1990s, an even better innovation was within reach. Scientists modified

the amino acid structure of human insulin, leading to much faster absorption times

and improved physiological effects.28 Common evidence proves this new type of

insulin—known as “analog” or “modern” insulin—more effectively mimics the insulin

coverage provided by a functioning pancreas than previously available insulins.29 As

of 2010, among adults with Type 2 diabetes who used insulin, 91.5% filled

prescriptions for the analogs.30 There are two basic forms of analog insulin: rapid-

acting and long-acting.31 Appendix A summarizes all available analog insulin drugs,

including their launch date and manufacturer. Within their class—rapid- or long-

acting—the analog insulins are therapeutically interchangeable.32

         Common evidence shows that once prescribed an analog insulin, the class

members could not reasonably avoid purchase of this drug.33 And because analog


    27
      See, e.g., Flory Report ¶ 51; Ex. 190 at 1172; Ex. 157, SANJ00100740 at -43 to
-45; Ex. 137, NNI-IP_00449290 at -90.
    28
         Ex. 190 at 1172.
    29
         Flory Report ¶ 54.
    30
      Ex. 191, Kasia Lipska, et al., Use and Out-of-Pocket Costs of Insulin for Type 2
Diabetes Mellitus from 2000 to 2010, 311 J. Am. Med. Ass’n 2331, 2332 (2014).
    31
         Flory Report ¶ 54.
    32
         Flory Report ¶ 54.
    33
         Flory Report ¶¶ 52-59; cf. Rosenthal Report ¶ 17.



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insulin cannot be purchased without a prescription, common evidence proves that

all analog insulin purchasers were prescribed these drugs.34

B.        Plaintiffs will use common evidence to show that the defendants engaged in
          unfair and unconscionable practices that injured all class members.

          The plaintiffs will offer common evidence to prove the unfair and

unconscionable conduct at issue here: the defendants chose to compete for

formulary access by swelling their list prices so that they could offer artificially

inflated rebates to the major PBMs and insurers.35 This perverse form of

competition did not simply deprive the class members of the usual benefits of

competition; it actively injured them. Put another way, the defendants—and the

defendants alone—decided to compete for market share in the way that harmed the

classes most: inflated list prices to bloat rebates.36




     34
          Flory Report ¶ 60; cf. Rosenthal Report ¶ 15.
     35
          See infra n. 44.
     36
      Rosenthal Report ¶ 2 (“Faced with a competitive marketplace, defendants
chose to increase list prices rather than reduce list prices to gain market share. In so
doing, they undermined price competition and competed instead on the basis of
rebates, which are unobserved by and unavailable to consumers. . . . The
combination of high list prices and high rebates benefited the defendants as well as
other key members of the supply chain including pharmacy benefit managers
(PBMs), insurers, health plans, and pharmacies. Consumers, on the other hand,
especially the sickest of them who are dependent on larger doses of insulin, bore the
cost of this arrangement.”).



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    1.       Common evidence shows that instead of competing through lower list
             prices, the defendants inflated them so that they could compete
             through bloated rebates to PBMs and insurers.

         Most health insurers rely on PBMs to set and manage their drug formularies—

the lists of prescription drugs for which an insurance plan offers insurance benefits.37

Drugs placed on the lower tiers of a formulary cost less for insureds, creating an

incentive for insureds to purchase them over other drugs not on formulary or in a

higher tier.38 Because the analog insulins are interchangeable within their

therapeutic classes,39 the PBMs could restrict formularies to cover only one analog

insulin for each class, forcing the defendants to compete for that preferred spot.40

         In a normal market, competition between manufacturers for sales of

interchangeable products should lower prices.41 But common evidence shows that



    37
      See, e.g., Rosenthal Report ¶ 26; Ex. 146, NNI-IP_01062076 at -99; Ex. 118,
NNI-IP_00098119 at slides 41, 45-46. Those insurers that do not use PBMs for this
function set the formularies themselves in the same way. See Ex. 118, NNI-
IP_00098119 at slides 45-46; Ex. 167, SANJ00516783 at -86.
    38
      See Rosenthal Report ¶¶ 38-39; see also Ex. 118, NNI-IP_00098119 at slides
15, 45-46.
    39
         Flory Report ¶ 54; Rosenthal Report ¶ 46.
    40
       See Ex. 63, Albers Dep. Tr. at 78:20-79:4; Ex. 138, NNI-IP_00591676 at slides
9-10, 21; Rosenthal Report ¶¶ 46-47; Ex. 20, SFC Report at 49, 71-80 (“In the
insulin therapeutic class, PBMs consider insulins to be interchangeable in their
safety, efficacy, and kinetics.”).
    41
         Rosenthal Report ¶ 45 (“To the extent that there is price competition in a




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the defendants deprived the classes of this benefit based on the way they chose to

compete.42 To obtain preferred positions on the PBMs’ formularies, the defendants

figured out that they could offer the PBMs and payers bloated, secret rebates rather

than lower list prices.43 Instead of competing by decreasing their WACs, the

defendants inflated them so they could present the PBMs with ever larger, secret




pharmaceutical market, it should yield lower prices for consumers.”); Ex. 176,
SANJ00813537 at -60 (

                                                     ”).
    42
      Rosenthal Report ¶ 45 (“In the case of analog insulins, because of the
defendants’ alleged conduct, the benefits of competition bypassed consumers. By
choosing to raise list prices – and compete on rebates rather than list prices – the
defendants have undermined the effectiveness of competition by stripping
consumers of their power to respond to price signals and share in savings from
competition.”), ¶¶ 48-51, 57 (“[T]he defendants’ scheme excluded class members
from the benefits of competition.”).
    43
      See Rosenthal Report ¶ 18 (rebates are secret), ¶¶ 35, 45, 52, 54-55; Ex. 123,
NNI-IP_00145928 at slides 7-8; Ex. 65, Carnahan Dep. Tr. at 29:15-19 (“[T]he way
in which the U.S. system works around formulary access and sole formulary access
drives a competitive, for lack of a better term here, bidding process or contracting
process. And so there is much competition that drives rebates very high.”); Ex. 178,
SANJ00931519 at -19 (“The PBM also negotiates prices with the manufacturer,
which then pays rebates to the PBM for preferred placement on a plan’s
formulary.”);




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spread between list and net price.44 The PBMs could boast that they had secured ever

larger discounts on the defendants’ analog insulins, but those “discounts” were

merely puffed spreads resulting from inflated list prices. And while the PBMs and

other middlemen in the healthcare system benefited from this form of

competition,45 they ultimately did not control it. Because the defendants—and the




    44
      See Rosenthal Report ¶¶ 34, 55-57 (“In communications with the insulin
manufacturers, PBMs and health insurers objected to these extreme price increases.
Manufacturers responded to these objections, not by lowering list prices, but by
increasing the rebates they paid to PBMs.”), & Fig. 7-15 (depicting the list-price-to-
net-price spreads for all relevant analog insulins at issue in this lawsuit); Ex. 139,
NNI-IP_00626071 at -143
                                                   Ex. 63, Albers Dep. Tr. at 81:18-24

                    Ex. 156, SANJ00058572 at -580

                                                                           ; Ex. 159,
SANJ00126994 at -96 (“As we previously announced, rebates to secure favorable
formulary access for Lantus in the U.S. have increased significantly in 2015.”);




    45
      As Dr. Rosenthal explains in her report, PBMs typically keep a percentage of
the rebates they negotiate. Thus, the larger the rebate, the higher the PBM earnings.
Larger list-to-net price spreads also increase the pot of money from which
middlemen, such as PBMs, wholesalers, and pharmacies, could extract
administrative fees. See Rosenthal Report Part V.C (detailing the “benefits” of the
defendants’ pricing scheme to “other actors in the supply chain”).



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defendants alone—set their list prices,46 they are responsible for implementing the

system whereby competition for PBM formulary access took the form of inflated list

prices and secret rebates.47 As one PBM executive put it: “It’s unconscionable when

these price hikes happen, and the finger-pointing and blame game is just a

distraction from what’s really going on. It’s not the PBMs that are raising the prices

of these drugs. It’s up to the manufacturers to show better judgment.”48

         Although the defendants raised their list prices before 2014,49 their unfair and

unconscionable scheme began (for most analog insulins) between 2014 and 2015,50

when the defendants’ list prices began to trend in an entirely different direction


    46
     See Defs.’ Mem. of Law in Support of Mot. to Dismiss the First Am. Class
Action Compl. (Counts 1-5) at 8, ECF No. 158-1 (D.N.J. May 14, 2018) (defendants
conceding that they set list prices, i.e., Wholesale Acquisition Cost (WAC)); see also
Rosenthal Report ¶ 22, 28-29.
    47
      See Rosenthal Report ¶ 18 (“[T]he rebates paid by drug manufacturers to
PBMs and insurers can lower plans’ net prices significantly below the retail price
paid to the pharmacy at the point of sale, but those rebates are not publicly
disclosed.”).
    48
         Ex. 184, LLYDNJPR00812070 at -70.
    49
         Rosenthal Report ¶ 49, Fig. 3-5.
    50
      Each analog insulin has its own class period start date—which, for most of the
drugs at issue, are the same years—derived from the data (common evidence)
regarding when the defendant’s list-to-net-price spread reached a statistical inflection
point. Rosenthal Report ¶¶ 111-116, Table 3. Because the unfair and
unconscionable conduct at issue here is the defendants’ manipulation of list prices
to compete for formulary access through rebates, i.e. the spread, the class start dates
are contingent on when that conduct began. Rosenthal Report ¶¶ 58, 111.



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from the net prices they offered the large PBMs and payers.51 Today, a month supply

of analog insulin for an average person living with Type 2 diabetes costs $510.45 for

Humalog, $326.40 for Basaglar, $425.25 for Lantus, $431.66 for Toujeo, $558.90 for

Novolog, $537.45 for Fiasp, $462.15 for Levemir, and $508.5 for Tresiba at list

price.52 And many people need more than the average or more than one analog

insulin.53 These prices are double and even triple what the medications cost when

they first came on market.

         Critically, these enormous list price increases in no way reflected the much

lower, post-rebate prices offered to the major PBMs and payers (the defendants’ “net”

prices). Indeed, class-wide pricing evidence shows that, beginning between 2014 and

2015,54 the defendants’ list prices trended in an entirely different direction from the net

prices they secretly offered to the major PBMs and insurers.55 Common evidence will

show that the maximum average quarterly rebate for Novolog Flexpen is 63% and




    51
      Rosenthal ¶ 56, Figures 7-15 (depicting the list-price-to-net-price spreads for all
relevant analog insulins at issue in this lawsuit)
    52
      The average type 2 needs 50 unit/mL of insulin per day, translating to about
1,500 unit/mL per month. Insulin pens are sold in boxes that contain five pens with
300 unit/mL such that one box lasts about a month. See Flory Report ¶ 49.
    53
         See Flory Report ¶ 49.
    54
         See supra n. 50.
    55
         Rosenthal Report ¶¶ 56-57, Figures 7-15.



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55% for Levemir Flex; 51% for Lantus Solostar; and 65% for Humalog Kwikpen.56

    2.       Common evidence shows the defendants’ pricing scheme harmed the
             class members, who pay for their prescribed analog insulins based on
             the defendants’ list prices.

         Common evidence will show that four types of patients pay for their analog

insulin medications based directly on the defendants’ list prices: (1) cash-paying

patients (usually, the uninsured); (2) insured patients with coinsurance obligations;

(3) insured patients who must pay full list price for their medications before they hit

their deductibles; and (4) Medicare Part D patients, who have both deductible and

coinsurance obligations. As explained by the plaintiffs’ experts Matthew Wine and

Dr. Rosenthal, the price that cash, coinsurance, deductible, and Medicare Part D

patients pay out-of-pocket for their prescribed analog insulins is tied to the WAC or

AWP (i.e., list price) the defendants set for those drugs.57 This expert testimony is

corroborated by common evidence produced by the major retail pharmacies in this




    56
         Rosenthal Report ¶ 55, Table 1.
    57
       See Ex. 2, Expert Report of Matthew Wine, Pharm. D., M.B.A. at Part IV,
dated Mar. 1, 2022 (hereinafter, “Wine Report”) (Mr. Wine explains how pharmacy
contracts with insurers and PBMs and the economic incentives in the retail
pharmacy industry influence and dictate point-of-sale pharmacy pricing such that
cash, coinsurance, and deductible payments are tied to AWP (which is
mathematically tied to WAC). Thus, increases to WAC result directly in increases to
cash, coinsurance, and deductible payments); Rosenthal Report ¶¶ 32, 73, Part VI.



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litigation.58 Common evidence—solicited in discovery by the defendants themselves—

shows that AWP is mathematically tied to WAC. Specifically, AWP is WAC plus

20% due to a court order settling two nationwide class-actions.59 Thus, when the

defendants increase their list prices, AWP and the amount class members pay rise in

step.60 Here, the class definitions include only those cash, coinsurance, deductible,

or Medicare Part D patients who paid based on WAC or AWP.61 The method for

ascertaining class members will exclude those who did not pay for their prescribed




    58
         See supra n. 63-66.
    59
      See Rosenthal Report ¶ 29 (“[S]tarting in 2009, AWP was generally 1.20 times
WAC for branded drugs. Thus, the AWP of a brand drug can always be calculated
from the WAC, and if the WAC of a drug increases by a certain percentage, the
AWP will increase by the same percentage.”); Ex. 181, WKHINS0000002 at -02
(“Standard Mark-up Factor has been calculated by Medi-Span by adding a standard
20% to the manufacturer furnished Wholesale Acquisition Cost (WAC)”); Ex. 182,
WKHINS0000979 at -79 to -80; Ex. 81, ELS_INREINSULIN000001 at -02 (“For
companies not suggesting an AWP, a mark-up of 20% is applied to the reported
WAC . . . .”).
    60
     Rosenthal Report ¶ 74 (“Thus, if the AWP is inflated by 50%, then a class
member who pays coinsurance or the full price for analog insulin is making an OOP
payment 50% higher than it would be without the inflated AWP. . . . [T]here are
numerous time periods in which AWPs are inflated by 50%.”).
    61
       See Plaintiffs’ Notice of Motion, filed concurrently with this brief (defining the
classes as “[a]ll individual persons . . . who paid any portion of the purchase price for
any prescription of” Novolog, Humalog, Fiasp, Lantus, Levemir, Basaglar, Toujeo,
and/or Tresiba “at a price calculated by reference to a list price, AWP (Average
Wholesale Price), and/or WAC (Wholesale Acquisition Price) for purposes other
than resale”).



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analog insulins based on the defendants’ list prices.62

         Specifically, an insured patient with coinsurance or deductible requirements

pays for analog insulin based on the lesser of her pharmacy’s usual and customary

price (U&C) or the reimbursement rate her pharmacy negotiated with her insurer

(or, more commonly, the insurer’s PBM).63 Both the U&C price and the negotiated

reimbursement rate are tied to AWP. U&C is either pegged directly to AWP or

otherwise set based on AWP.64 And the negotiated reimbursement rate for the




    62
         See Rosenthal Report ¶¶ 105-109.
    63
    See Wine Report ¶¶ 36, 40, 47-48, 49-50; Rosenthal Report ¶ 33; Ex. 15,
Walmart Decl. ¶¶ 10-11; Ex. 13, Rite Aid Dep. at 41:8-17, 45:13-19.
    64
         See Wine Report ¶¶ 35-44, & Part IV.C; Rosenthal Report ¶¶ 32, 84-87;




                  .



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analog insulins is AWP minus a fixed percentage.65 Pharmacies have strong

economic incentives to keep their U&C prices for branded drugs above the

negotiated reimbursement rates for those drugs.66 As a result, insured consumers

almost always pay based on the negotiated reimbursement rates (AWP minus a fixed

percentage). That means patients with coinsurance requirements almost always pay a

percentage of AWP and insured patients with deductibles pay AWP minus a fixed

percentage until they meet the deductible.67 And even when they do not pay based

on the negotiated reimbursement rate, they pay based on U&C, which is tied to

WAC or AWP.68 Cash purchasers pay U&C, which, again, is tied to WAC or AWP.69


   65
        See Wine Report ¶¶ 36-44; Rosenthal Report ¶ 33, 88; e.g.,




                                          . Sometimes, in contracts not relevant to
this matter, negotiated reimbursement rate is based on National Average Drug
Acquisition Cost (NADAC) instead of AWP. See Wine Report ¶ 25 n.4.
   66
        See Wine Report ¶¶ 40-44;




                                                               .
   67
        See supra n. 65.
   68
        See supra n. 64.
   69
        See supra n. 64.



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         To prove that cash, coinsurance, and deductible consumers pay based on

WAC, Dr. Rosenthal compares the defendants’ WAC prices to pharmaceutical

industry data on the retail pharmacy prices of the defendants’ analog insulins.70 Dr.

Rosenthal applies the Pearson correlation coefficient—a statistical test—to measure

the linear correlation between the two prices.71 The result of this analysis, elaborated

through graphs72 and a table73 in her report, shows that the prices the class members

pay are nearly perfectly correlated to the defendants’ WACs.74 To “test the robustness of


    70
      Rosenthal Report ¶ 89. For retail pharmacy data, Dr. Rosenthal uses data
from “IQVIA, a third-party data vendor whose datasets are regarded as the gold
standard of pharmaceutical data,” and for the defendants’ WACs, Dr. Rosenthal
uses ProspectoRx data (ProspectoRx publishes the WACs the defendants report).
    71
         Rosenthal Report ¶ 89.
    72
       Rosenthal Report at Figure 17 (mapping the correlation between WAC and
retail prices for Lantus Vials for transactions covered by commercial insurance
plans); Figure 18 (mapping the correlation between WAC and retail prices for
Lantus Vials for transactions covered by covered by Medicare Part D plans); Figure
19 (mapping the correlation between WAC and pharmacies’ U&C prices for Lantus
Vials); see also infra n. 75 (correlation coefficients and graphs for state-specific
datasets).
    73
      Rosenthal Report ¶ 95, Table 2 (listing the correlation coefficients between
WAC and retail prices for all analog insulins at issue in this lawsuit from January
2008 through June 2021).
    74
       Rosenthal Report ¶ 89. Possible values of the Pearson correlation coefficient
range from -1 to 1. “A value greater than zero means there is a positive
correlation . . . with a value of 1 indicating a perfect positive correlation (i.e., as one
price increases, the other always increases in exactly the same way according to a
linear formula); a value of –1 means that there is a perfect negative correlation (i.e.,




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these results,” Dr. Rosenthal “performed the same analysis on four subsets of the

national data”: sales in Texas, Florida, Illinois, and New Jersey.75 “The results are

highly consistent with the national results.”76 Finally, Dr. Rosenthal uses a second

dataset—data produced by the non-party insurer,             —to confirm that the U&C

prices charged by                                                                  ,

mimic WAC.77 Put another way, Dr. Rosenthal uses common evidence—the

defendants’ list prices, pharmaceutical industry data on retail prices, and data

produced by a non-party in this litigation—to show that the defendants’ WACs form

the basis for class member payments, leading to class-wide impact when increased.78

         Because the proposed classes pay for the analog insulins based on AWP (and,




as one price increases, the other tends to decrease); and a value of 0 means there is
no correlation.” Rosenthal Report ¶ 89. “As shown in Table 2, for Commercial and
Medicare Part D Payers, the correlation coefficient was always greater than 0.996,
and for Cash Payers, the correlation coefficient was always greater than 0.956.”
Rosenthal Report ¶ 95, Table 1.
    75
      Rosenthal Report ¶ 91 and Fig. 20-22 (Texas), ¶ 92 and Fig. 23-25 (Florida),
¶ 93 and Fig. 26-28 (Illinois), ¶ 94 and Fig. 29-31 (New Jersey).
    76
         Rosenthal Report ¶ 91.
    77
         Rosenthal Report ¶ 96, Fig. 32-36.
    78
       Rosenthal Report ¶ 97 (“[M]y analysis corroborates the documentary evidence
showing that both U&C prices for uninsured purchases and pharmacy
reimbursements for insured purchases are based on list prices. Thus, to the extent
that list prices were inflated by the alleged scheme and class members paid a
percentage of or the entire pharmacy price, the class was impacted.”).



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thus, the defendants’ WACs79), when the defendants raise their WACs, the classes

pay for those increases, whether they pay a percentage (coinsurance) or the whole

(deductible and cash-paying patients).80 Or, as Dr. Rosenthal puts it, the “defendants’

simultaneous escalation of list prices and rebates is a subversion of price competition

that not only prevented consumers from sharing in the benefits of competition but

also forced them to be the unwilling underwriters of the rebates offered by the

defendants to maintain the scheme.”81 As further elaborated below, such increased

payments for analog insulin severely harmed class members.82

    3.       Common evidence reveals the defendants knew, at all relevant times,
             that their price increases inflicted harm on the class members.

         Common evidence will prove that the defendants’ pricing scheme “[u]nfairly

capitaliz[ed] on Plaintiffs’ lack of choice for critical services”83 and lacks “good

faith”84 because the defendants were fully aware of the “substantial injury”85 their

scheme inflicted on all class members.



    79
         Again, AWP is simply WAC plus 20%. See supra n. 59.
    80
         Rosenthal Report Part VI.B.
    81
         Rosenthal Report ¶ 72.
    82
         See infra Part II.B.3; Flory Report ¶¶ 30–40; Rosenthal Report ¶¶ 42, 72-76.
    83
         James II, 2020 WL 998858, at *4.
    84
         James I, 2018 WL 3736478, at *8 (citation omitted).
    85
         Wyndham, 799 F.3d at 244.



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         For example, in a 2018 letter to Health and Human Services, Novo conceded

that “55 percent of patients’ out-of-pocket spending for brand medicines is based on

the list price of the medicine.”86 As Novo explained, “[w]hen a patient is in the

deductible, they typically must pay the list price of their medication up to the

deductible amount” and “[w]hen patients pay coinsurance, they must pay a

percentage of costs associated with their health care service or medicine.”87 Another

internal Novo slide deck explained that Medicare Part D patients pay for Novo’s

analog insulins based on their list prices in the coverage gap—commonly known as

the donut hole.88 This 2015 deck, showed that—at that time—Medicare Part D

patients were responsible for 45% of the cost of brand name drugs in the donut

hole.89 The deck then offered an example of a patient’s payments for a branded

diabetes drug in one year:




    86
         Ex. 147, NNI-IP_01391448 at -454.
    87
      Id. at -456. This letter further detailed that “[p]atient out-of-pocket spending
on coinsurance has increased 89 percent” and, “[s]ince 2016, deductibles for
patients in large employer health plans have increased by 300 percent.” Id.
    88
      Ex. 106, NNI-IP_00024439 at slide 50 (explaining that the starting point for
Medicare Part D patient payments in the coverage gap at the pharmacy counter for
branded drugs is AWP (recall that AWP is WAC plus a fixed percentage)); see also
Ex. 115, NNI-IP_00095342 at -43 (noting that a patient with 30% coinsurance must
pay 30% of list price).
    89
         Ex. 106, NNI-IP_00024439 at slide 21.



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                                  .91 Another Novo slide deck conceded that the

uninsured “pay list price plus [a] pharmacy premium.”92 In sum, Novo’s internal

emails,93 slide decks,94 and deposition testimony95 acknowledge




        What’s more,




   90
       Ex. 106, NNI-IP_00024439 at slide 24; see also Ex. 148, NNI-IP_1312271 at
slide 17.
   91
        Ex. 106, NNI-IP_00024439 at slide 27.
   92
      Ex. 141, NNI-IP_00904159 at slide 2; see also Ex. 67, DeNunzio Dep. Tr. at
67:1-6, 240:20-241:1, 241:22-25 (


   93
      See, e.g., Ex. 116, NNI-IP_00095994 (“list/wac is only important as it impacts
patient [out-of-pocket spending]”).
   94
        See, e.g., Ex. 106, NNI-IP_00024439 at slides 23-27.
   95
      See, e.g., Ex. 67, DeNunzio Dep. Tr. at 208:4-20, 210:16-211:21, 217:4-218:2;
Ex. 63, Albers Dep. Tr. at 90:13-25; Ex. 70, Langa Dep. Tr. at 186:16-187:13.
   96
        Ex. 113, NNI-IP_00095164 at -164.



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                                  98



         Lilly also knew that class members paid for analog insulins based on list price.

An internal Lilly memorandum explained that when patients “carry a high-

deductible insurance policy . . . they pay the list price until they meet their

deductible. This is typically thousands of dollars down the road.”99




    97
         Ex. 117, NNI-IP_00096332 at -332.
    98
         Ex. 67, DeNunzio Dep. Tr. at 275:7-10.
    99
       Ex. 86, LLYDNJPR00124234 at -35 (the memo further explained that “people
using Medicare face challenges in the coverage gap, commonly known as the donut
hole, where they pay a percentage of the cost of their medications”); see also Ex. 145,
NNI-IP_01058985 at -987 (Lilly CEO David Ricks admitted to CNBC that patients
in high-deductible plans “are subjected to the list price”); Eli Lilly & Co., Why Does
Insulin Cost What it Does?, https://www.youtube.com/watch?v=22ZLxeW
Munc&list=PLBpUCq1AiZfkVzft9U4b6T4zMkNtx--gr&index=4 (last visited on Jan.
7, 2022) (Lilly promotional video admitting that patients who have coinsurance or
deductible requirements “pay the full or a percentage of the manufacturer list price,”
leading to—in Lilly’s own words—“a major sticker shock.” (emphasis added)); Ex. 90,
LLYDNJPR00566430 at -30 (CEO David Ricks admitting that “[m]ore and more
Americans have insurance plans with high deductibles” and “[t]hese plans require
patients to pay full sticker, or list, price for their medicines”); Ex. 66, Conterno Dep.
Tr. at 121:14-15 (“In some cases, yes, patients also paid list price during the
deductible phase.”); Ex. 183, LLYDNJPR00870592 at -594 (“If a patient has a high
deductible plan . . . they pay the list price of the a medicine until they meet their
deductible. For patients with diabetes, this could mean paying thousands of dollar
out-of-pocket until he or she meets their deductible.”).



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                                                                 100



          Sanofi also understood class members were “being exposed to full drug

costs.”101 For example, a 2015 email from one Sanofi executive acknowledges,




                 ”102 An internal memorandum highlights that




                                                    In 2016, Sanofi’s CEO publicly

conceded that “patients are increasingly exposed to the list price.”104 Sanofi



    100




    101
          Ex. 175, SANJ00812002 at -164.
    102
          Ex. 161, SANJ00134977 at -977.
    103
          Ex. 160, SANJ00128271 at -273.
    104
       Ex. 166, SANJ00516546 at -641; see also Ex. 169, SANJ00525645 at -647
(same admission in 2018).



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recognized and monitored the reality that its list-price increases were especially

damaging to patients.105



                                ”106

          Common evidence further reveals that the defendants understood the higher

out-of-pocket payments their list price inflation effectuated resulted in harm to the

health of patients.


    105
          Ex. 170, SANJ00528279 at -294.
    106
          Ex. 160, SANJ00128271 at -273

              ; see also Ex. 151, SANJ00014397 at -399 (
                                             ”).
    107
        See, e.g., Ex. 118, NNI-IP_00098119 at slide 36 (2015 Novo slide deck
admitting that “[i]ncreases in cost-sharing through co-pays and co-insurance reduce
fulfillment despite insurance coverage” and documenting the percentage of insured
consumers subject to a deductible for pharmacy benefit has risen from 24% in 2011
to 53% in 2017); Ex. 121, NNI-IP_134892 at -902 (
                                                                           ; Ex. 102,
NNI-IP_00008274 (report highlighting the negative impact of increased patient drug
costs, particularly on the uninsured); Ex. 107, NNI-IP_00033329 at slide 9 (2016
slide deck acknowledging that “[s]ingle branded insulin product represents 28% of
total [patient] Rx Spend”); Ex. 175, SANJ00812002 at -164 (recognizing that “costs
to patients have an impact on adherence”); Ex. 160, SANJ00128271 at -273

                                                                     Ex. 86,
LLYDNJPR00124234 at -237 (“IMS data show that higher out-of-pocket costs lead to
lower medication adherence.”);




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                   ”110 When Novo hired another consulting firm to analyze the

impact of cost on patient drug adherence, that firm reported that



              ”111 And Novo was fully aware of the serious health outcomes associated

with such reduced access to insulin: one internal Novo slide deck presented graphic

images depicting the damage to feet, eyes, kidneys, and other organs that result from




   108
         Ex. 140, NNI-IP_00715892 at -93

                                                                         Ex. 129,
NNI-IP_00361495 (email from NNI employee


                       Ex. 122, NNI-IP_00139528 (email from Novo executive


                                     ”); Ex. 155, SANJ0056877 at -77 to -79 (emails
highlighting that Lantus having the highest WAC increase for all U.S.
pharmaceuticals was not “patient-centric”).
   109
      Ex. 70, Langa Dep. Tr. at 186:16-187:13; Ex. 65, Carnahan Dep. Tr. at
170:11-23; Ex. 73, Miller Dep. Tr. at 104:4-6.
   110
         Ex. 107, NNI-IP_00033329 at slide 32; see Ex. 102, NNI-IP_00008274 at -76.
   111
         Ex. 120, NNI-IP_00119776 at slide 21.



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inadequate treatment.112 Simply put, “pricing is having a disturbing effect on a

number of patients.”113

          Sanofi similarly understood the dire reality facing patients based on its

monitoring of media reports and consumer complaints.114 Still, when reports

circulated internally of patients dying due to rationing insulin, the concerns focused

only on whether they were using Sanofi products.115

          Finally, Lilly understood this reality. The same internal memo noting that

class members pay based on list price, warned that “IMS Data show that higher

patient out-of-pocket costs leads to lower medication adherence. High deductible

plans that require people with diabetes to pay full retail price for insulin isn’t good

for patients or for long-term health care costs.”116


    112
          Ex. 108, NNI-IP_00072294 at slides 1 & 15.
    113
          Ex. 124, NNI-IP_00162659 at -61.
    114
     See, e.g., Ex. 165, SANJ00511218 at -18 to -22 (media monitoring); Ex. 172,
SANJ00580618 (interviews with consumers).
    115
          Ex. 164, SANJ00329122 at -22.
    116
          Ex. 86, LLYDNJPR00124234 at -37.



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          At bottom, internal emails show the defendants either ignored the patient

entirely when pricing their drugs—focusing only on how much additional profits they

could wring from the market117—or, worse,

                                                       .”118

    4.        Common evidence from the defendants’ files shows they follow and
              match competitors’ price increases to effectuate their scheme.

          To effectuate their pricing scheme, defendants employed a business practice

known as “shadow pricing”119—often internally called a “                      120
                                                                                    In


    117
          Ex. 109, NNI-IP_00094482 at -82 (



                                   Ex. 69, Jafery Dep. Tr. at 149:21-25; Ex. 63, Albers
Dep. Tr. at 85:18-20 (
Ex. 139, NNI-IP_00626071 at -143 (Novo slide deck

    118
          See, e.g., Ex. 114, NNI-IP_00095326 at -31
                                                          ); Ex. 140, NNI-IP_00715892
at -93


                                               ; Ex. 139, NNI-IP_00626071 at -145.
    119
          Rosenthal Report ¶¶ 52-54, Fig. 6.
    120
          See, e.g., Ex. 130, NNI-IP_00382567 at -67



                                                                                     ; Ex.




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shadow pricing, one manufacturer “lead[s] by implementing a price increase, while

the manufacturer of a substitutable or interchangeable product implement[s] a

symmetrical price increase on its own product.”121 Such shadow pricing leave the

classes with no option but to swallow the defendants’ list price inflation because all

therapeutically equivalent alternatives are also impacted. Using common evidence,

the graphics in Dr. Rosenthal’s report illustrate the defendants’ shadow pricing.122

          Common evidence also shows the defendants knew their competitors would

follow any price increases they took. For example, in 2014, Sanofi’s then-CEO

expressed no fear of being undercut by competitors: “You’re essentially in oligopoly

situations . . . . [N]one of us are going to make a return on the investment if

everybody has a race to the bottom here.”123 His prediction proved true. While Novo




67, DeNunzio Dep. Tr. at 31:9-18



    121
          Rosenthal Report ¶ 52; see also Ex. 20, SFC Report at 52, 65.
    122
       Rosenthal Report at Fig. 3-6 (depicting the defendants shadow pricing in the
rapid- and long-acting analog insulin therapeutic classes); id. ¶¶ 53-54.
    123
        Ex. 185, Sanofi S.A. 2014 Q3 Earnings Call at 12 (10/28/2014) (Sanofi SA –
Chris Viehbacher, CEO); see also id. at 16 (Sanofi SA – Peter Guenter, EVP, Global
Commercial Operations) (“[I]t is not in the interests of the existing players to go for
a race to the bottom.”).



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                                                                                      124
acknowledged internally that Sanofi’s list price increases were                             it

matched them step-for-step.125 For example, on the morning of November 7, 2014,

Novo learned that Sanofi increased Lantus’s list price by 11.9% overnight.126 Within

hours, Novo’s pricing committee approved the same list price increase by a tenth of a

decimal point for its competitor drug, Levemir.127 As one executive explained,



                                                             ”128

          Lilly engaged in the same behavior, just as its primary competitor (Novo129)

knew it would. When Novo increased the list price of Novolog, it expected each
                                     130
increase to                                Novo was right.



    124
          Ex. 140, NNI-IP_00715892 at -92.
    125
          Rosenthal Report at Fig. 3, 4, and 6.
    126
          Ex. 135, NNI-IP_00437954.
    127
          Ex. 134, NNI-IP_00391681 at -81.
    128
          Ex. 140, NNI-IP_00715892 at -92 (noting

                                                ); Ex. 67, DeNunzio Dep. Tr. at 102:24-
103:17
           see also Rosenthal Report ¶¶ 59-63 (describing the benefits of the pricing
scheme to the defendants).
    129
      Novo and Lilly manufacture the top selling rapid-acting analog insulins
Novolog and Humalog, respectively.
    130
          Ex. 103, NNI-IP_00012053 at -58; Ex. 67, DeNunzio Dep. Tr. at 32:21 -
33:10.



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C.         Plaintiffs will use common evidence to show the defendants publicly
           misrepresented the reasons driving their list price increases.

           Common evidence shows that the defendants lacked “honesty in fact”133

about the rationales for their list price increases. They claimed that R&D outlays

accounted for the increases and insisted that the therapeutic value of the analogs

justified the price hikes. But defendants’ own documents refute these falsehoods.

     1.       The defendants increased analog insulin list prices without any changes
              to the drugs that might justify such increases.

           Novo concedes that it has not improved the Novolog or Levemir molecules,134

nor were pricing committee members aware of any “improvements” despite the many

significant list price increases they implemented in the same period.135 Likewise,



     131



     132

     133
           James I, 2018 WL 3736478, at *8 (citation omitted).
     134
           Ex. 79, Novo Resp. & Obj. to Pls.’ Fourth Set of Interrogs., at 16.
     135
        Ex. 69, Jafery Dep. Tr. at 122:17-20, 123:6-7, 124:4-6; Ex. 67, DeNunzio Dep.
Tr. at 182:9-22.



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Sanofi admits it has not                             for Toujeo or Lantus.136 Nor has Lilly

improved that of Humalog or Basaglar.137 Because the therapeutic “value” of these

drugs has not changed, value cannot justify the dramatic changes in list price. The

defendants were aware of this reality, and, in internal meetings, executives warned

that increasing public calls for drug pricing transparency would “moderate” the price

increases they were able to take and “enhance the need to demonstrate value.”138

    2.      The defendants’ list price increases for their analog insulins have
            nothing to do with their R&D costs.

         Common evidence demonstrates that the defendants publicly cited the

research and development (R&D) costs associated with making their drugs to justify

increasing their list prices.139 But, again, common evidence—pricing committee



   136
         Ex. 64, Borneman Dep. Tr. at 34:10-15, 38:7-16.
   137
         Ex. 77, Lilly Resp. & Obj. to Pls.’ Third Set of Interrogs., at 3-4.
   138
         Ex. 146, NNI-IP_01062076 at -101.
   139
       See Ex. 132, NNI-IP_00387167 at -167 (“
                                     ; Ex. 93, LLYDNJPR00821529 at -30 (Lilly email
proposing that, in response to a reporter’s questions regarding the reasons for its
price increases, Lilly stated that “In general, our pricing decisions are based on
complex formulas that take into account . . . research and development
investments”); Comm. on Oversight and Reform, U.S. House of Representatives,
Drug Pricing Investigation: Majority Staff Report, at 169 (Dec. 10, 2021),
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/DRUG%20P
RICING%20REPORT%20WITH%20APPENDIX%20v3.pdf (“Eli Lilly has taken
the public position that it prices its products according to each drug’s value to the
health care system and the need to fund innovation.”).



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minutes, internal emails, and deposition testimony140—shows that the defendants did

not actually consider their company’s R&D spend when raising their analog insulin

list prices.

          For example, when asked if Novo’s pricing committee considered the R&D

spend for any of its analog insulins when pricing them,



                 141
                       As to Levemir, he explained that



                                       ”142

          Sanofi’s head of the Diabetes and Cardiovascular Unit, which controlled the

U.S. prices for Sanofi’s analog insulins, similarly testified that R&D was a functional

arm within the company that did not report to her or the team centralized in New

Jersey.143


    140
          See, e.g., Ex. 67, DeNunzio Dep. Tr. at 40:15-16

Ex. 65, Carnahan Dep. Tr. at 106:14-19

    141
       Ex. 69, Jafery Dep. Tr. at 135:5-18; see also Ex. 67, DeNunzio Dep. Tr. at
17:16-25, 18:19 (another Novo executive responsible for recommending price
increases testifying that he was not aware of any patents that Novo received on
Novolog or Levemir from 2010 to 2018).
    142
          Ex. 69, Jafery Dep. Tr. at 135:14-18.
    143
          Ex. 65, Carnahan Dep. Tr. at 37:6-24; 106:14-19.



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                                                                                       144




          The raw numbers reveal/highlight the disconnect between insulin price hikes

and R&D. In 2014 through 2018,
                                      147
                                            During that same period, Sanofi averaged

more than                  in U.S. insulin sales annually, with Lantus alone accounting

for as much as                 per year in sales on average.148 And from 2014 to 2018,

Lilly averaged               in insulin sales, of which Humalog represented as much as




    144
          See Ex. 154, SANJ00042352 at -53.
    145



    146

    147
          Ex. 143, NNI-IP_01013509.
    148
       Ex. 80, Sanofi-Aventis U.S. LLC’s Resp. & Obj. to Pls.’ Third & Fourth Sets
of Interrogs., at 9.



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               per year.149 But despite massive annual profits driven by insulin sales at

rising prices, even the defendants’ inflated estimates of their own R&D costs

confirm they spent next to nothing on R&D for those drugs in the same years.150 In

other words, common evidence proves that the defendants attempted to mislead the

public regarding the relationship between the R&D spending and the analog insulin

list price hikes. The House report recently reached the same conclusion.151

                     III.   S TANDARDS FOR C LASS C ERTIFICATION

          All class actions must satisfy the four requirements of Federal Rule of Civil

Procedure 23(a): numerosity, commonality, typicality, and adequacy.152 A Rule


    149
          Ex. 77, Eli Lilly and Company’s Resp. & Obj. to Pls.’ Third Set of Interrogs.,
at 5-6.
    150
       See, e.g., Ex. 79, Novo Resp. & Obj. to Pls.’ Fourth Set of Interrogs., at 10-12;
Ex. 80, Sanofi Resp. & Obj. to Pls. Third & Fourth Set of Interrogs., at 7; Comm.
on Oversight and Reform, U.S. House of Representative, Drug Pricing Investigation:
Majority Staff Report at 17 (Dec. 2020),
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/DRUG%20P
RICING%20REPORT%20WITH%20APPENDIX%20v3.pdf (reporting
approximately $244 million in global R&D costs related to Humalog from 2014 to
2018).
    151
       Comm. on Oversight and Reform, U.S. House of Representative, Drug
Pricing Investigation: Majority Staff Report at 164-72 (Dec. 2020),
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/DRUG%20P
RICING%20REPORT%20WITH%20APPENDIX%20v3.pdf.
    152
        City Select Auto Sales Inc. v. BMW Bank of N. Am. Inc., 867 F.3d 434, 438 (3d
Cir. 2017). “Besides these prerequisites, a class action must satisfy one of the
subsections (1) through (3) in Rule 23(b).” In re Google Inc. Cookie Placement Consumer
Priv. Litig., 934 F.3d 316, 320 (3d Cir. 2019).



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23(b)(3) class requires that “the questions of law or fact common to class members

predominate over any questions affecting only individual members, and that a class

action is superior to other available methods for fairly and efficiently adjudicating

the controversy.”153 And a Rule 23(b)(2) class requires that “the party opposing the

class has acted or refused to act on grounds that apply generally to the class, so that

final injunctive relief or corresponding declaratory relief is appropriate respecting the

class as a whole.”154

          A “party proposing class-action certification bears the burden of affirmatively

demonstrating by a preponderance of the evidence her compliance with the

requirements of Rule 23.”155 A “court’s class-certification analysis must be ‘rigorous’

and may ‘entail some overlap with the merits of the plaintiff’s underlying claim,’

[but] Rule 23 grants courts no license to engage in free-ranging merits inquiries at

the certification stage.”156 “Merits questions may be considered to the extent—but

only to the extent—that they are relevant to determining whether the Rule 23




    153
          Fed. R. Civ. P. 23(b)(3).
    154
          Fed. R. Civ. P. 23(b)(2).
    155
          Byrd v. Aaron’s Inc., 784 F.3d 154, 163 (3d Cir. 2015).
    156
        Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455, 465-66 (2013)
(citation omitted).



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prerequisites for class certification are satisfied.”157

           An “examination of the elements of plaintiffs’ claim is sometimes necessary,

not in order to determine whether each class member states a valid claim, but

instead to determine whether the requirements of Rule 23—namely, that the

elements of the claim can be proved ‘through evidence common to the class rather

than individual to its members’—are met.”158

                                       IV.   A RGUMENT

A.         Two nationwide Rule 23(b)(3) classes should be certified as to defendants
           Novo and Sanofi for a claim of unconscionable acts under the New Jersey
           Consumer Fraud Act.

           Nationwide Rule 23(b)(3) classes should be certified against Novo and Sanofi

under the New Jersey Consumer Fraud Act (NJCFA), which make unlawful “any

unconscionable commercial practice.”159




     157
        Id. at 466; see also Williams v. Jani-King of Philadelphia Inc., 837 F.3d 314, 322
(3d Cir. 2016) (“Although the court must undertake a rigorous analysis at the
certification stage and consider some merits-related issues, the class certification
stage is not the place for a decision on the merits.”).
     158
         Sullivan v. DB Invs., Inc., 667 F.3d 273, 306 (3d Cir. 2011) (citation omitted);
see id. (“[T]he Rules and our case law have consistently made clear that plaintiffs
need not actually establish the validity of claims at the certification stage.”) (footnote
omitted).
     159
           N.J. Stat. Ann. § 56:8-2.



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    1.          The NJCFA should be applied nationwide against Novo and Sanofi to
                the plaintiffs’ claims that their conduct was unconscionable.

          This Court denied the defendants’ motion to dismiss the unconscionability

claim under the NJCFA.160 As this Court explained, the plaintiffs allege that

“Defendants’ artificially inflated AWPs” caused “gross overpayments among the

most vulnerable members of society.”161 The Court then ruled that “Plaintiffs have

adequately pled unconscionable conduct” and ascertainable loss.162 As explained

below, this unconscionability claim should be certified for two nationwide classes.

                  a.    New Jersey applies the “most significant relationship” test to
                        determine which state’s laws apply.

          The Third Circuit has explained that “to determine which state’s substantive

law applies we ‘must apply the choice of law rules of the forum state.’”163 New Jersey

follows the two-part “most significant relationship” test to decide which state’s

substantive laws applies.164 “The first step in a conflicts analysis is to decide whether

there is an actual conflict between the laws of the states with interests in the



    160
          See In re Insulin Pricing Litig., 2019 WL 643709, at *14-*16.
    161
          Id. at *15.
    162
          Id.
    163
        Auto–Owners Ins. Co. v. Stevens & Ricci Inc., 835 F.3d 388, 403 (3d Cir. 2016)
(citation omitted).
    164
          Vorhees v. Tolia, No. 16-8208, 2020 WL 1272193, at *6 n.7 (D.N.J. Mar. 17,
2020).



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litigation.”165 An actual conflict exists when choosing between the laws of two states

would be “outcome determinative.”166 “If there is no actual conflict, then the choice-

of-law question is inconsequential, and the forum state applies its own law to resolve

the disputed issue.”167

          But “[i]f there is an actual conflict, then the court must determine ‘which

forum has the most significant relationship with the parties and the contract.’”168

New Jersey has “formally adopted the Second Restatement’s most-significant-

relationship test in sections 146, 145, and 6 for deciding the choice of substantive

law in tort cases involving more than one state.”169 That test “embodies all the

elements of this Court’s former governmental-interest test and adds ‘a series of other

factors deemed worthy of consideration.’”170 “That more nuanced approach is the

one we apply here.”171




    165
          Cont’l Ins. Co. v. Honeywell Int’l, Inc., 234 N.J. 23, 46 (2018).
    166
          McCarrell v. Hoffmann-La Roche Inc., 227 N.J. 569, 584 (2017).
    167
          Cont’l Ins., 234 N.J. at 46 (citation omitted).
    168
        Aliments Krispy Kernels, Inc. v. Nichols Farms, 851 F.3d 283, 289 (3d Cir. 2017)
(citation omitted).
    169
          McCarrell, 227 N.J. at 589.
    170
          In re Accutane Litig., 235 N.J. 229, 257 (2018) (citation omitted).
    171
          Id.



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          The choice-of-law “assessment takes place on an issue-by-issue basis.”172

“Viewed through the [Second Restatement’s] section 6 prism, the state with the

strongest section 145 contacts will have the most significant relationship to the

parties or issues, and thus its law will be applied.”173 Section 145(2) states that

contacts to be considered include: (a) the place where the injury occurred; (b) the

place where the conduct causing the injury occurred; (c) the domicil, residence,

nationality, place of incorporation and place of business of the parties; and (d) the

place where the relationship, if any, between the parties is centered.174

                b.     New Jersey’s law of unconscionability applies to the claims of
                       the proposed nationwide classes.

          Even assuming a conflict exists between the laws of New Jersey and other

states, the NJCFA should govern nationwide as to the plaintiffs’ “unconscionable”

acts claim. Under the second step of the choice-of-law analysis, only one of the § 145

factors—the place where the injury occurred—points to applying the plaintiffs’ home

states. The other three factors decisively favor application of New Jersey law.



    172
          P.V. ex rel. T.V. v. Camp Jaycee, 197 N.J. 132, 143 (2008).
    173
          Id.
    174
        Section 146 of the Second Restatement of Conflicts does not apply, because
this is not “an action for a personal injury.” Restatement (Second) of Conflict of
Laws § 146 (1971). Nor does section 148 apply, because Plaintiffs do not claim that
they and the Class members “suffered pecuniary harm on account of [their] reliance
on the defendant[s’] false representations.” Id. § 148.



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          First, “the place where the conduct causing the injury occurred” is New Jersey.

Defendants’ pricing practices—not the sale of insulin by non-parties—constitute the

wrongful conduct at issue here.175 And as common evidence shows, Novo and Sanofi

engaged in that conduct from their headquarters in New Jersey. Novo and Sanofi

both have pricing committees (or review boards) comprising New Jersey employees

who regularly hold meetings in New Jersey.176 These committees developed,

recommended, and approved the very strategies for insulin pricing and contracting

at issue in this lawsuit in New Jersey.177 In short, the conduct challenged in this case

happened in New Jersey, warranting the application of New Jersey law.

          Second, Novo and Sanofi are New Jersey companies with “domicil, residence,


    175
          See supra Part II.B.
    176
        Ex. 69, Jafery Dep. Tr. at 30:18-24, 67:6-13; Ex. 67, DeNunzio Dep. Tr. at
13:2-11 (Novo executive, who oversaw the pricing team responsible for list price
recommendations, testifying that he conducted this business out of New Jersey); id.
at 21:11-12, 22:22-23:24, 32:2-12 (same executive confirming that he oversaw the
pricing team that came up with price recommendations); id. at 294:2-23 (Novo
executives in charge of “approv[ing] proposed list prices” were all based in New
Jersey); id. at 244:10-247:10 (managers in charge of relaying Novo’s pricing and
affordability messaging were based in New Jersey); id. at 289:21-290:9 (employees
with responsibility for editing Novo’s pricing procedures manual—both the “Brand”
and “Managed Market” teams—were based in New Jersey); Ex. 76, Soria Dep. Tr. at
162:18-163:10, 163:20-164:1 (Sanofi executive testifying that members of the Pricing
Review Board with roles in the marketing, finance, analytics, market access, and
contract teams were located in New Jersey).
    177
      Ex. 74, NNI 30(b)(6) Tr. at 82:1-13; Ex. 76, Soria Dep. Tr. at 127:25-128:11,
130:19-25.



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nationality, . . . and place of business” in the state. Novo is headquartered in

Plainsboro, and Sanofi is in Bridgewater.178 Both have parent companies abroad, but

the foreign entities are not defendants and did not engage in any of the challenged

conduct. In fact, both Novo and Sanofi refused to provide any discovery of their

foreign entities for these very reasons.179 Novo insisted that its foreign-CEO was “the

CEO of a separate company located in another country” who lacked “relevant

information regarding the topics at issue in this litigation, which deals exclusively

with insulin pricing in the United States,” while adding that the “strategy [at issue in

this case] is the purview of senior management of [the U.S. company].”180 Sanofi

similarly refused to produce custodial files from its foreign-CEO, stressing that the

U.S. entity was the one “directly involved in the business practices at issue in this

litigation” and “did not employ [its CEO].”181

          Third, by defendants’ admissions in this litigation, “the place where the

relationship, if any, between the parties is centered” is New Jersey. When moving for

dismissal, the defendants emphasized the absence of any relevant conduct in the



    178
          Ex. 74, NNI 30(b)(6) Tr. at 52:17-22; Ex. 65, Carnahan Dep. Tr. at 37:10-16.
    179
       See, e.g., Ex. 22, June 11, 2020 Letter from A. Yaphe to M. Vazquez at 1-2; Ex.
23, June 29, 2020 Letter from M. Patterson to M. Vazquez at 2.
    180
          Ex. 22, June 11, 2020 Letter from A. Yaphe to M. Vazquez, at 1.
    181
          Ex. 23, June 29, 2020 Letter from M. Patterson to M. Vazquez, at 2.



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plaintiffs’ home states, stressing that they do not sell insulin to the plaintiffs in their

home states, make representations to the plaintiffs at the point of sale in their home

states, or have any business contacts with plaintiffs in their home states.182 Likewise,

in applying the indirect purchaser doctrine, this Court explained that the plaintiffs’

injuries stem from the list prices the defendants inflated “before the consumers make

their purchasers from those intermediaries.”183 This Court further stressed the lack

of “any direct purchase between [plaintiffs] and Defendants.”184 The defendants

should not be permitted to argue that the relevant conduct took place outside the

plaintiffs’ home states when convenient and then disavow that position when

inconvenient.

          This case parallels James I,185 where the defendants allegedly “engaged in

unconscionable business practices by setting grossly excessive rates and fees” on a

“captive market” of New Jersey inmates and their (often) out-of-state loved ones who



    182
       Dkt. No. 158-1 at 24-29 (“[P]laintiffs lack statutory standing to assert any
RICO claims because they are “indirect purchasers” who do not purchase analog
insulin directly from any defendant.”); id. at 55 (arguing defendants did not make
any misrepresentation to consumers at point-of-sale); id. at 10 (“Drug manufacturers
such as defendants do not sell drugs directly to consumers . . . .”).
    183
      In re Insulin Pricing Litig., 2019 WL 643709, at *10 (emphasis supplied by
Court).
    184
          Id. at *13.
    185
          No. 13-4989, 2018 WL 3736478.



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used New Jersey calling services.186 The Court applied New Jersey law to the claims

of all class members even though some class members received or made calls from

other states. The Court explained that “the location of harm often dictates the

choice of law in tort and consumer fraud cases” but nonetheless applied New Jersey

law because “every class member is undeniably tied to New Jersey in a crucial way:

each ICS phone call either originated or terminated in a New Jersey correctional

facility.”187 As the Court found, “[e]ven the least proximate class members—say, those

who never stepped foot in New Jersey but accepted calls from family or friends

incarcerated there—directly implicate New Jersey’s interest in regulating its

prisons.”188 In the same way, the defendants’ allegedly unconscionable conduct

occurred solely within New Jersey—directly implicating New Jersey’s interest in

regulating corporations headquartered within its borders. Only the class members’

monetary losses occurred in other states.189



    186
          Id. at *2, *7.
    187
          Id. at *6.
    188
          Id.
    189
       Similarly, in Pro v. Hertz Equip. Rental Corp., No. 06-3830, 2009 WL 1010622,
at *1 (D.N.J. Feb. 3, 2009), Judge Cavanaugh certified a nationwide class under the
NJCFA for allegedly “unconscionable” fees imposed by Hertz. The Court had
previously held that New Jersey law applied nationwide, in part because “Defendant
as a New Jersey corporation has its principal officers in New Jersey and most likely




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          Indeed, not applying New Jersey law to the Class’s claims would constitute a

return to the doctrine of lex loci delicti, which the New Jersey Supreme Court long

ago abandoned. According to the Third Circuit, it previously “was believed that the

right to recover for a foreign tort was created or withheld by the law of the

jurisdiction where the injury occurred.”190 But “jurisdiction after jurisdiction has

abandoned this simplistic approach in favor of more sophisticated, meaningful, and

realistic choice of law criteria.”191 New Jersey is one of those states and has “rejected”

the rigidity of lex loci in favor of a more flexible ‘governmental interest’ standard192—

one that does not “frustrate[] state public policy.”193 Applying the state laws of the


develops its policies in New Jersey.” Pro v. Hertz Equip. Rental Corp., No. 06-3830,
2008 WL 5218267, at *5 (D.N.J. Dec. 11, 2008). In applying a choice-of-law
provision, the court emphasized that “New Jersey ‘has a powerful incentive to insure
that local merchants deal fairly with citizens of other states and countries.’” Id.
(citation omitted). While no choice-of-law provision applies here, the same factors
cited by Judge Cavanaugh support nationwide application of New Jersey law here.
    190
          Scott v. E. Air Lines, Inc., 399 F.2d 14, 28 (3d Cir. 1967).
    191
          Id. (footnote omitted).
    192
       Cont’l Ins., 234 N.J. at 51 (citing State Farm Mutual Auto. Ins. Co. v. Simmons,
84 N.J. 28, 36-37 (1980) and Veazey v. Doremus, 103 N.J. 244, 247-49 (1986)).
    193
        McCarrell, 227 N.J. at 585 n.6. Plaintiffs do not seek certification of a
nationwide class against Lilly, which is based in Indiana. Unlike New Jersey,
“Indiana is a lex loci delicti state: in all but exceptional cases it applies the law of the
place where harm occurred.” In re Bridgestone/Firestone, Inc., 288 F.3d 1012, 1016
(7th Cir. 2002). In Bridgestone, the Court held that “Indiana’s choice-of-law rule
selects the 50 states and multiple territories where the buyers live, and not the place
of the sellers’ headquarters, for these suits.” Id. at 1018.



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drug purchase locations, when the defendants did not engage in any operative

conduct in these states, would revert to an outdated, mechanical approach that

hinders New Jersey’s “interest in deterring misconduct by corporations

headquartered within its borders.”194 Accordingly, this Court should apply the

NJCFA nationwide.

    2.        The nationwide classes satisfy the elements of Rule 23(a).

          A certified class must satisfy four requirements of Rule 23(a): (1) numerosity;

(2) commonality; (3) typicality; and (4) adequacy of representation.195 “The parties

seeking class certification bear the burden of establishing by a preponderance of the

evidence that the requirements of Rule 23(a) have been met.”196

                a.     The class members are sufficiently numerous.

          Plaintiffs satisfy Rule 23(a)(1), which requires that a class be “so numerous

that joinder of all members is impracticable.” A plaintiff “can generally satisfy Rule

23(a)(1)’s numerosity requirement by establishing ‘that the potential number of

plaintiffs exceeds 40.’”197 In a case like this—where the class representatives alone


    194
          Maniscalco v. Brother Intern. (USA) Corp., 709 F.3d 202, 210 (3d Cir. 2013).
    195
          Fed. R. Civ. P. 23(a).
    196
       In re Cmty. Bank of N. Va. Mortg. Lending Pracs. Litig., 795 F.3d 380, 391 (3d
Cir. 2015).
    197
          Mielo v. Steak ‘n Shake Operations, Inc., 897 F.3d 467, 486 (3d Cir. 2018)




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number 39—numerosity is self-evident. Indeed, around seven million Americans take

analog insulin every day.198 As Dr. Rosenthal explains, health plans where patients

must pay coinsurance or deductibles have become increasingly prevalent in the last

ten years.199 And 28 million Americans200 still do not have health insurance and

must pay cash for their drug purchases.

                b.     The class claims for unconscionability under the NJCFA
                       involve common questions of law and fact.

          Plaintiffs satisfy the commonality requirement of Rule 23(a)(2) for the

nationwide classes. “It is well established that only one question of law or fact in




(citation omitted); see also Stewart v. Abraham, 275 F.3d 220, 227 (3d Cir. 2001)
(holding that a proposed class of at least 40 members will satisfy this requirement).
    198
        7.4 million Americans take insulin every day. William Cefalu et al., Insulin
Access and Affordability Working Group: Conclusions and Recommendations, 41 Diabetes
Care 1299 (2018). Approximately 1.84 million Americans have type 1 diabetes, Type
1 Diabetes Statistics, Beyond Type 1, https://beyondtype1.org/type-1-diabetes-
statistics/#:~:text=Approximately%201.84%20million%20Americans%20have,type
%201%20diabetes%20each%20year. For type 1 diabetes, analog insulins are the
uniformly recommended course of treatment. Flory Report ¶ 57. Over 92% of
patients with type 2 diabetes take analog insulins. Flory Report ¶ 59.
    199
       Rosenthal Report ¶ 40-41 (“In 2006, the percentage of covered workers
enrolled in an HDHP was 4%, and in 2020 it was 31%. . . . [T]here has also been an
increase in the percentage of plans that require coinsurance payments . . . .”).
    200
       Katherine Keisler-Starkey & Lisa N. Bunch, Health Insurance Coverage in the
United States: 2020, U.S. Census Bureau (Sept. 14, 2020),
https://www.census.gov/library/publications/2021/demo/p60-
274.html#:~:text=In%202020%2C%208.6%20percent%20of,any%20point%20dur
ing%20the%20year.



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common is necessary to satisfy the commonality requirement,”201 making it “a low

threshold” to satisfy.202 “What matters to class certification” is “the capacity of a

classwide proceeding to generate common answers apt to drive the resolution of the

litigation.”203 In short, answers that would “resolve an issue that is central to the

validity of each one of the claims in one stroke.”204

          Here, common questions of law and fact that will yield common answers for

all nationwide class member, include but are not limited to the following:

          i.     Whether the defendants engaged in unfair and/or unconscionable
                 conduct;

          ii.    Whether the defendants controlled and inflated the list price (WAC) of
                 their analog insulins;

          iii.   Whether the defendants knew that the class members paid based on
                 the list price (WAC) Novo and Sanofi set;

          iv.    Whether the defendants knew that the increased cost of analog insulin
                 harmed the class members;

          v.     Whether the class members could reasonably avoid purchase of the
    201
          In re Schering Plough Corp. ERISA Litig., 589 F.3d 585, 597 n.10 (3d Cir. 2009).
    202
        In re Novo Nordisk Sec. Litig., No. 17-209, 2020 WL 502176, at *5 (D.N.J. Jan.
31, 2020); see also In re Cmty. Bank, 795 F.3d at 399 (commonality requirement
satisfied where plaintiffs “alleged that the class was subjected to the same kind of
illegal conduct by the same entities, and that class members were harmed in the
same way, albeit to potentially different extents”).
    203
        Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011) (emphasis in original)
(citation and internal quotation marks omitted).
    204
          Id.



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                  analog insulins they were prescribed;

          vi.     Whether the defendants took advantage of the class members’ lack of
                  capacity to forgo purchases of their analog insulins.

          vii.    Whether the defendants competed with one another through rebates to
                  PBMs and insurers rather than reductions to list prices;

          viii.   Whether the defendants copied their competitors’ price increases such
                  that all rapid- and long-acting insulins were infected by the scheme;

          ix.     Whether the defendants have lacked honesty regarding the
                  justifications and driving forces behind their list price increases;

          x.      Whether the defendants are liable to plaintiffs and the class members
                  for damages flowing from their alleged misconduct.

          Plaintiffs will also establish damages through common evidence. Plaintiffs’

expert, Dr. Rosenthal, will use Xponent data and defendants’ data to calculate what

the price of the at-issue insulins would have been absent the defendants’ unfair

conduct.205 Using this “but for” price and purchase data regarding the qualifying

analog insulin purchases during the class period, Dr. Rosenthal will calculate

aggregate damages.206 In re Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust

Litigation207 recently held that consumer plaintiffs satisfied the commonality


    205
          See infra Part IV.A.4.b(2).
    206
          See infra Part IV.A.4.b(2).
    207
      In re Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust Litig., 335 F.R.D. 1,
12 (E.D.N.Y. 2020) (holding the consumer plaintiff satisfied the commonality




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requirement by seeking to establish damages in the same way: using common

evidence to establish a “but for” drug price and the number of prescriptions sold.

                c.     The class representatives’ claims are typical.

          Plaintiffs satisfy the typicality requirement of Rule 23(a)(3). The “typicality

requirement is satisfied as long as representatives and the class claims arise from the

same event or practice or course of conduct and are based on the same legal

theory.”208 The Third Circuit has a “low threshold” for satisfying typicality.209

          Here, the proposed nationwide class representatives and all class members

were damaged by the same allegedly wrongful conduct of Novo and Sanofi. Both the

representatives and the classes’ claims arise from the defendants’ pricing scheme. A

requirement for membership in the class is that the member make a payment for

analog insulin based on list price. The claims of the class representatives and all class

members stem from the same legal theory: that the defendants’ artificial inflation of

their list prices to compete for formulary access through rebates was unfair and




requirement by seeking to establish damages in the same way: using common
evidence to establish a but for drug price and number of prescriptions sold).
    208
          In re Novo Nordisk Sec. Litig., 2020 WL 502176, at *6.
    209
       See In re Nat’l Football League Players Concussion Injury Litig., 821 F.3d 410, 428
(3d Cir. 2016).



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unconscionable and caused the class and representatives to overpay for insulin.210

                d.     The class representatives and their counsel are adequate.

          Plaintiffs satisfy Rule 23(a)(4)’s requirement that “representative parties will

fairly and adequately protect the interests of the class.”211 As the Third Circuit has

explained, the “adequacy requirement primarily examines two matters: the interests

and incentives of the class representatives, and the experience and performance of

class counsel.”212 “Rule 23(a)(4) serves to uncover conflicts of interest between

named parties and the class they seek to represent.”213 Class representatives “must

have ‘[a] minimal degree of knowledge’ about the case” and “have no conflict of

interest with class counsel . . . and members of the class . . . .”214 Moreover, “[o]nly

‘fundamental’ conflicts ‘will defeat the adequacy requirement.’”215 And “hypothetical




    210
        See In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Pracs. & Antitrust Litig.,
No. 17-2785, 2020 WL 1180550, at *15 (D. Kan. Mar. 10, 2020) (finding the
plaintiffs drug purchasers satisfied the typicality requirement where they asserted
that “every class member” relied “on the same legal theory—they all paid artificially
elevated prices for or were oversold EpiPens—and the claims of the named plaintiffs
are typical of the claims of the proposed classes”).
    211
          Fed. R. Civ. P. 23(a)(4).
    212
          In re Cmty. Bank, 795 F.3d at 392.
    213
      In re Suboxone (Buprenorphine Hydrochlorine & Naloxone) Antitrust Litig., 967
F.3d 264, 272 (3d Cir. 2020) (citation omitted).
    214
          Id. (citations omitted) (alteration in original).
    215
          Id. (citation omitted).



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conflicts cannot defeat adequacy.”216

          The proposed class representatives for the two nationwide classes will fairly

and adequately protect and represent the interests of the classes. The interests of the

plaintiffs are coincident with, not antagonistic to, those of the class members. As in

Suboxone, the representatives are aware of their roles as fiduciaries, understand the

basis for the claimed injury, have an incentive to recover their proportionate share of

damages, have monitored the litigation, have produced documents, and have the

requisite interest in and knowledge about the case.217 The plaintiffs’ declarations

filed with this brief prove their commitment and adequacy.218

          Class counsel are experienced in the prosecution of class action litigation and

have extensive experience with class action litigation involving pharmaceutical

products and drug pricing.219 Indeed, this Court recognized class counsels’


    216
          Id. at 273.
    217
       See id. (“The record shows that Burlington is aware of its role as a fiduciary,
understands the basis for the claimed injury, has an incentive to recover its
proportionate share of damages, monitors the litigation, produced documents, and
has the requisite interest in and knowledge about the case to satisfy the adequacy
requirement.”).
    218
       The class representatives’ declarations demonstrate that they are adequate. See
Exs. 24-62 (class representative declarations).
    219
        See ECF No. 49-1 (laying out interim-lead counsel’s success in comparable
cases); In Re Pharm. Industry Average Wholesale Price Litig., MDL No. 1456 (D. Mass.);
New England Carpenters Health Benefits Fund v. First DataBank, Inc. and McKesson
Corp., No. 05-11148 (D. Mass.).



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experience when it appointed them interim class counsel.220

    3.        The proposed classes are ascertainable.

          Interpretation of the Third Circuit’s ascertainability requirement and what

that standard demands has been the subject of much debate among parties, district

courts, and, even at times, Third Circuit judges.221 But the Third Circuit’s most

recent decision on ascertainability, Hargrove v. Sleepy’s LLC222—authored by the same

Judge as the opinion that instituted the standard223—lays to rest any confusion

surrounding what is required to demonstrate ascertainability.

          The ascertainability standard requires a plaintiff to show: “(1) the class is

defined with reference to objective criteria; and (2) there is a reliable and

administratively feasible mechanism for determining whether putative class members

fall within the class definition.”224 Here, the nationwide classes, like many classes of




    220
          See ECF No. 71 at 6.
    221
       See, e.g., Carrera v. Bayer Corp., No. 12-2621, 2014 WL 3887938, at *1 (3d Cir.
May 2, 2014) (four Third Circuit judges dissenting from the Court’s denial of a
rehearing of the Carrera decision on the grounds that Carrera misinterprets Marcus).
    222
          974 F.3d 467, 477-79 (3d Cir. 2020) (Ambro, J.).
    223
      See Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 592-93 (3d Cir. 2012)
(Ambro, J.); see Sleepy’s, 974 F.3d at 477 (“We first addressed [ascertainability] in
Marcus v. BMW of North America LLC . . . .”).
    224
          Sleepy’s, 974 F.3d at 469-70 (quoting Byrd, 784 F.3d at 163).



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drug purchasers before it,225 are ascertainable under both prongs. First, the classes

are defined by objective criteria. Whether a person “paid any portion of the purchase

price for a prescription” of Novolog, Fiasp, Levemir, and/or Tresiba sold by Novo

and/or Toujeo and/or Lantus sold by Sanofi “at a price calculated by reference to a

list price, AWP (Average Wholesale Price), and/or WAC (Wholesale Acquisition

Price) for purposes other than resale”226 is ascertainable from data and thus

objective.

          The class definition also satisfies the second prong: there is “a reliable and

administratively feasible mechanism for determining whether putative class members

fall within the class definition”227—one that has been used in similar prior cases.228

          In Sleepy’s, the Third Circuit reversed a district court’s finding that a proposed

class of full-time delivery drivers was not ascertainable. The Third Circuit held the

district court’s opinion “was too exacting and essentially demanded that Appellants



    225
       See, e.g., In re Suboxone (Buprenorphine Hydrochloride & Nalaxone) Antitrust Litig.,
421 F. Supp. 3d 12, 70-74 (E.D. Pa. 2019) (finding class of “persons or entities who
purchased and/or paid for some o[r] all of the purchase price for” Suboxone for
personal consumption was ascertainable) (alteration in original), aff’d, 967 F.3d 264
(3d Cir. 2020).
    226
      See Plaintiffs’ Notice of Mot., filed concurrently with this memorandum on
March 1, 2022.
    227
          Sleepy’s, 974 F.3d at 469-70 (quoting Byrd, 784 F.3d at 163).
    228
          See infra n. 257; Ex. 6 ¶¶ 6, 10-11, 14 (Miller Decl.).



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identify the class members at the certification stage.”229 As the Third Circuit

recounted, the plaintiffs had produced a variety of records230 that, when used in

combination, “identify which drivers worked for Sleepy’s full time.”231 Despite

acknowledging that “the records [the plaintiffs] rely on are incomplete,” the Court

held that the plaintiffs sufficiently “identified several distinct data sets that, taken

together with the affidavits, establish a ‘reliable and administratively feasible

mechanism’ for determining class membership.”232 The Court emphasized that “the

ascertainability standard was satisfied in cases in which plaintiffs submitted far less

evidence . . . . In Byrd, for example, we held that the household class members were

ascertainable even though no evidence as to them had been submitted because we

could imagine the types of evidence that could be identified and used to link the

existing class members to household members.”233 “[G]aps in the [class certification]



    229
          Sleepy’s, 974 F.3d at 470.
    230
        These records included: “testimony from a dozen potential class members”;
“pay statements showed that delivery drivers completed multiple deliveries each day,
five to six days a week, and Sleepy’s manifests listed the driver of the truck and how
many deliveries they were assigned each day”; “driver rosters listing the names of the
individuals who contracted with it”; and “security gate logs further show who was
driving the truck through the gate each day.” Id.at 479-80.
    231
          Id. at 479.
    232
          Id. at 480 (quoting Byrd, 784 F.3d at 163) (emphasis added).
    233
          Id. (citing Byrd, 780 F.3d at 170-71).



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record do not undermine the conclusion that all the evidence taken together could

at the merits stage be used to determine who the [class members] were.”234

          Here, the plaintiffs will use a combination of the electronically stored records

of the major PBMs, retail pharmacies, insurers, and the relevant drug coupon

administrators—records available for the entire class period235—to identify class

members.236 As plaintiffs’ expert and several industry declarants explain, the

pharmaceutical and insurance industries are unique in the specificity of

electronically recorded data they maintain.237 These records can identify the millions

of consumers that purchased the relevant insulins in the class period at a price




    234
          Id. (emphasis added).
    235
          See supra n. 242;

                                         .
    236
       See Ex. 4 at Part II.C (Plaintiffs’ Trial and Allocation Plan detailing how class
members will be identified and damages allocated); Ex. 6 ¶¶ 6, 10-11, 14-20 (claims
administrator explaining that class members—consumers with cash, coinsurance,
and/or deductible payments can be identified from pharmaceutical industry data, as
they have been in the past); Rosenthal Report ¶¶ 105-109 (confirming that the data
allows for the exclusion of non-qualifying claims: “transactions in which Medicaid
was the TPP, transactions in which the consumer paid a flat dollar co-pay, and
transactions in which the consumer used a co pay coupon . . . can be identified in
the data and removed from the analysis”).
    237
      See, e.g., Rosenthal Report ¶¶ 105-109, 120; Ex. 6 ¶¶ 6, 9-11 (claims
administrator routinely uses pharmaceutical data to identify drug purchaser classes).



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calculated by reference to a list price.238 They can identify who received a coupon

and when.239 And they can also identify the current addresses of such patients even if

the purchase was made decades ago.240 In short, the class members here are more

readily ascertainable than in many certified classes.

          And plaintiffs’ expert, Dr. Rosenthal, shows this is true. First, from

                                                                                     —five

of the largest PBMs in the country who, together, adjudicate drug purchase claims

for nearly 90% of the insured market in the United States241—the plaintiffs have



    238
       See, e.g., Ex. 5 ¶¶ 7, 10-14 (Rawling manages insurance claims on over 200
million Americans and “Rawlings has the ability to determine from sufficient
healthcare data whether an insured consumer made a coinsurance payment or a
copayment and whether the consumer payment was made during the deductible
period of that consumer’s insurance plan.”);



    239
       Ex. 16 ¶¶ 3-4, 10-11 (RelayHealth—one of two coupon administrators for the
defendants—has 10 years’ worth of the relevant data); Ex. 17 ¶¶ 3-4, 8, 10-11 (RxC—
the other coupon administrators for the defendants—has 10 years’ worth of the
relevant data); Rosenthal Report ¶ 109.
    240
        See, e.g., Ex. 5 ¶ 9 (“Rawlings maintains licenses with multiple commercial
credit transaction databases . . . to allow Rawlings to obtain the most current address
information for each member. With this information, Rawlings can identify
consumers with prescriptions back to 2010 and match them to current claims
information.”).
    241
          The Top Pharmacy Benefit Managers of 2020: Vertical Integration Drives




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obtained sample subsets of the data they will need to ascertain insured class

members across the class period.242 Most of these PBMs have produced data starting

in January 2014—which is the start date of the earliest class period—and there is no

dispute they have such data stretching from 2014 to the present.243 Using this data,

Dr. Rosenthal shows she can identify which insured individuals purchased the

analog insulins at a price calculated by reference to list price and were therefore

injured.244 To complement this extensive dataset, the plaintiffs have obtained

declarations from these PBMs averring that, through the data they maintain, patients

who pay for their branded drugs (such as the analog insulins) through fixed copays


Consolidation, Drug Channels (Apr. 6, 2021),
https://www.drugchannels.net/2021/04/the-top-pharmacy-benefit-managers-
pbms.html.
    242
        See Rosenthal Report ¶ 132 n.155 (describing all data produced to the
plaintiffs by these PBMs); see also Ex. 8 ¶ 7 (describing the               data
produced); Ex. 9 ¶ 6 (describing the              data produced). The PBMs provided
this data in a “de-identified format,” such that the class members are ascertainable
based on anonymized codes. Should the Court grant certification, the plaintiffs will
subpoena the identified data for the full class period.
    243
          Rosenthal Report ¶ 132 n.155 (




                        ).
    244
       Rosenthal Report ¶ 132. Note that Dr. Rosenthal did not use the data from
                                     in her analysis because there was not sufficient
time to fully assess that data. Rosenthal Report ¶ 132 n.155.



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can be sorted from those who pay coinsurance.245

          Second, the plaintiffs have obtained records from

                   —four of the largest retail pharmacies in the country.246 This data not

only complements and augments the PBM dataset as to insured patients, but also

enables the plaintiffs to ascertain the cash-paying class members. As Dr. Rosenthal

shows, from the pharmacy data, the exact amount a consumer paid for his or her

analog insulin and his or her damages can be determined.247 As Mr. Eric Miller—a

claims administrator with extensive experience distributing damages to parallel

classes—this pharmacy data can then be used to determine which consumers paid

cash, coinsurance, or copays. In other words, which consumer paid with reference to

list price.248

          Third, the plaintiffs are in the process of obtaining records from the two



    245

                            .
    246
          See Rosenthal Report ¶ 132 n.155.
    247
        Rosenthal Report ¶¶ 132, Part VII.D. Note that Dr. Rosenthal did not use
the data from            in her analysis because there was not sufficient time to fully
assess that data. Rosenthal Report ¶ 132 n.155. In Part VII.D, Dr. Rosenthal shows
that her methodology can be applied to the pharmacy records produced by the
named plaintiffs. Part VII.D uses the pharmacy records of class representative Carole
Andrew, who paid for analog insulin                                           to
calculate her individual damages.
    248
          Ex. 6 ¶¶ 6, 10-11, 14, 21.



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companies that administer all the defendants’ coupon programs.249 Rather than

handle their own coupon distribution, the defendants contract third parties to

adjudicate and track all defendants’ coupons offered to consumers. As they explain

in their sworn declarations, these third parties—RelayHealth and RxC—keep records

of the date, location, amount of coupon, and amount remaining to be paid by the

patient after the coupon for every coupon they have provided to a consumer during

the class period.250 They also maintain records on the names, addresses, and birth

dates of those consumers.251 The plaintiffs will obtain that information,252 which will

allow Dr. Rosenthal and claims administrators to identify every single analog insulin

purchase made with a coupon so that it can be excluded from the class.253

          Fourth, as Mr. Fischer further explains, insurer claims data—which his firm

maintains—can be used to identify analog insulin purchases made in the deductible

period of an insured’s benefit design and analog insulin purchases made with




    249
          Ex. 186 (subpoena to RxC); Ex. 187 (subpoena to RelayHealth).
    250
          Ex. 16 ¶¶ 3-4, 10-11 (RelayHealth); Ex. 17 ¶¶ 3-4, 8, 10-11 (RxC).
    251
          Id.
    252
          See supra n. 249.
    253
       Rosenthal Report ¶¶ 109, 135; Ex. 6 ¶ 14 (“A.B. Data can use this coupon
data to exclude transactions where a coupon was applied to payment.”); Ex. 5 ¶ 14
(“If Rawlings is provided sufficient identified copay or coinsurance coupon data, we
can identify transactions where coupons were applied.”).



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coinsurance.254 Indeed, Mr. Fischer’s firm is currently using this data in the Opioid

litigation to identify insured consumers who purchased opioids with coinsurance.255

          Fifth, as Mr. Miller—the claim administrator with expertise in distribution of

damages based on pharmacy, insurer, and PBM data—explains in his declaration, the

data the plaintiffs propose using to ascertain the class both can and have been used to

identify consumers who purchased drugs with coinsurance, cash, or deductibles in

the past.256 Indeed, Mr. Miller and his firm (both current and past) have successfully

distributed damages to individual claimants in very similar consumer class cases

where, as here, only consumers with coinsurance or cash payments—not copays—

could recover damages.257 And, crucially, these past successful cases relied on the


    254
       Ex. 5 ¶¶ 7, 10-13 (“Rawlings has the ability to determine from sufficient
healthcare data whether an insured consumer made a coinsurance payment or a
copayment and whether the consumer payment was made during the deductible
period of that consumer’s insurance plan.”).
    255
          Ex. 5 ¶ 11-12.
    256
          Ex. 6 ¶¶ 6, 10-11, 14-18.
    257
      See, e.g., Supplemental Order Regarding Final Approval of the First Databank
& Medi-Span Settlement Class, New England Carpenters Health Benefits Fund v. First
Databank, Inc., No. 05-11148, ECF No. 882 (D. Mass. Feb. 19, 2010, 2009) (order
approving similar allocation and distribution plan in a case where consumer drug
purchasers—with coinsurance or cash, not copay, claims—alleged that the drug
wholesaler, McKesson, violated state law when it colluded with co-defendant, First
DataBank, to raise AWPs); Class Plaintiffs’ Memorandum in Support of their
Unopposed Motion for Approval of Partial Distribution of the McKesson




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Settlement Fund, New England Carpenters Health Benefits Fund v. First Databank, Inc.,
No. 05-11148, ECF No. 883 (D. Mass. Dec. 22, 2009) (explaining the approved
distribution and allocation plan: class counsel subpoenaed the largest retail and
online pharmacies to request consumer data to ascertain the number of consumer
claimants; in total, the nine pharmacies provided over 82.6 million records; the
claims administrator (the same one proposed here, see Ex. 6) used that data to
expand the number of consumer claimants from a few thousand individually filed
claims to over 24 million total claimants; and then the claims administrator created
24,353,335 unique pharmacy claims totaling $7,042,540,151.26 in purchases);
Affidavit of Eric J. Miller Regarding Allocation and Distribution of the Net
Settlement Fund to Cash Payors, New England Carpenters Health Benefits Fund v. First
Databank, Inc., C.A. No. 05-11148, ECF No. 886 (D. Mass. Dec. 22, 2009)
(explaining that claims administrator successfully ascertained and distributed funds
only to coinsurance and cash paying class members); Order granting Motion for
Disbursement of Funds, In re Tricor Indirect Purchaser Antitrust Litig., No. 05-360 (D.
Del. Dec. 15, 2010) (order approving similar distribution and allocation plan); Class
Plaintiffs’ Brief in Support of Unopposed Motion for Disbursement of Settlement
Proceed and Final Payment of Fees and Costs to Claims Administrators at 2, In re
Tricor Indirect Purchaser Antitrust Litig., No. 05-360, ECF No. 562 (D. Del. Dec. 10,
2010) (claims administrators received and processed more than 28,000 claims
submitted by consumers and third-party payer class members, more than 26 million
consumer purchase records in response to subpoenas to retailers, and more than 62
million claim lines from TPPs who had submitted their insured’s co-pay data. In all,
the claims administrators obtain the necessary relevant Information for more than
4.2 million consumers who purchased the drug at issue.); Revised Final Order and
Judgment Granting Final Approval of the Proposed Settlement Agreement Release
of Astrazeneca Related to Massachusetts Classes Two and Three Approving the
Proposed Allocation of Settlement Funds, and Approving Class Counsel’s
Application for Attorney’s Fees, Reimbursement of Litigation Expenses and
Compensation for Class Representatives, In re Pharm. Average Whole Price Litig., MDL
No. 1456, C.A. No. 01-12257, ECF No. 7432 (D. Mass. Feb. 11, 2011); Class
Plaintiffs’ Combined Memorandum of Law in Support of Joint Motions for Final
Approval of Massachusetts and Non-Massachusetts Class 2 and Class 3 Astrazeneca
Settlements, MDL No. 1456, C.A. No. 01-12257, ECF No. 7340 (D. Mass. Dec. 15,
2010); In re Relafen Antitrust Litig., 231 F.R.D. 52, 64 (D. Mass. 2005) (approving a




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same data and methods for allocating and distributing damages that the plaintiffs

will use here: in those cases, the plaintiffs subpoenaed large PBMs, health insurers,

and pharmacies to identify class members. As explained in the plaintiffs’ Proposed

Trial and Allocation Plan,258 the plaintiffs will subpoena the same data here if their

requested classes are certified.

          In sum, as in Sleepy’s, the Court here “need not use [its] imagination.”259 The

records needed to ascertain the class members not only exist but also have been

deployed in similar past cases to identify and distribute damages to classes of cash- or

coinsurance-paying drug purchasers without resorting to “extensive and

individualized fact-finding or mini-trials”260 As in Sleepy’s, the plaintiffs here not only


final settlement agreement and allocation plan for a class of consumer drug
purchasers where, to identify class members, class counsel had issued subpoenas for
consumer information to “the ten largest providers of retail pharmacy services in the
United States as well as the mail-order pharmacies associated with the five largest
providers of pharmaceutical benefit management in the United States to obtain
electronic files of the names and addresses of any consumers of
Relafen/nabumetone as well as information concerning the consumer’s
expenditures during the Class period. As of April 14, 2005, seven (7) entities ha[d]
complied with the subpoena and provided [Complete Claim Solutions] with
electronic files . . . . The data contained in the electronic files encompasses
approximately 2,624,795 transactional records. The data was scrubbed to eliminate
duplicate and aggregate co-pay payments, resulting in approximately 836,750 Class
Members that are potentially eligible Class Members.”).
    258
          See Ex. 4 at Part II.C (Plaintiffs’ Proposed Trial and Allocation Plan).
    259
          Sleepy’s, 974 F.3d at 480.
    260
          Byrd, 784 F.3d at 163 (quoting Marcus, 687 F.3d at 593).



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“identif[y] several distinct data sets that, taken together with the affidavits, establish a

‘reliable and administratively feasible mechanism’ for determining class

membership”261 but also obtained them to show such is possible.

    4.       The proposed nationwide classes satisfy Rule 23(b)(3).

                a.     Standards for class certification under Rule 23(b)(3).

          If the Rule 23(a) requirements are met, the Court “must consider whether the

class fits within one of the three categories of class actions set forth in Rule 23(b).”262

Rule 23(b)(3) certification requires that “the questions of law or fact common to

class members predominate over any questions affecting only individual members,

and that a class action is superior to other available methods for the fair and efficient

adjudication of the controversy.”263 The Supreme Court has explained that an

“individual question is one where members of a proposed class will need to present

evidence that varies from member to member, while a common question is one

where the same evidence will suffice for each member to make a prima facie showing




    261
       Sleepy’s, 974 F.3d at 480 (quoting Byrd, 784 F.3d at 163); see also In re Cmty.
Bank, 795 F.3d at397 (plaintiffs need only “identif[y] a reliable, repeatable process
whereby members of the putative class may be identified”).
    262
          In re Cmty. Bank, 795 F.3d at 392.
    263
          Fed. R. Civ. P. 23(b)(3).



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[or] the issue is susceptible to generalized, class-wide proof.”264 And Rule 23(b)(3)

“requires a showing that questions common to the class predominate, not that those

questions will be answered, on the merits, in favor of the class.”265 In Amgen, the

Court affirmed predominance, because “the class is entirely cohesive: It will prevail

or fail in unison. In no event will the individual circumstances of particular class

members bear on the inquiry.”266 “‘To assess predominance, a court . . . must

examine each element of a legal claim through the prism of Rule 23(b)(3)’ by

determining whether each element is ‘capable of proof at trial through evidence that

is common to the class rather than individual to its members.’”267

                b.     Common questions of law and fact predominate.

                       (1)    Common evidence will establish that Novo and Sanofi
                              engaged in unconscionable conduct as to all class
                              members under the NJCFA.

          Common evidence will be used to prove that Novo and Sanofi’s conduct was



    264
       Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016) (citation and
internal quotation marks omitted) (alteration in original).
    265
          Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455, 460 (2013).
    266
        Id. at 460; see also Tyson Foods, 577 U.S. at 457 (“When, as here, ‘the concern
about the proposed class is not that it exhibits some fatal dissimilarity but, rather, a
fatal similarity—[an alleged] failure of proof as to an element of the plaintiffs’ cause
of action—courts should engage that question as a matter of summary judgment, not
class certification.’” (citation omitted) (alteration in original)).
    267
          Suboxone, 967 F.3d at 269 (citation omitted) (ellipsis in original).



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unconscionable as to all class members. In James,268 the Court held that common

questions predominated as to whether the defendant engaged in unconscionable

conduct under the NJCFA. The Court rejected the defendant’s argument that “‘an

unlawful practice’ necessarily involves deceptive conduct, which turns on each

plaintiff’s individual circumstances.”269 Instead, the Court found “a defendant’s

business practice does not need to be deceptive to be ‘unconscionable’ under the

CFA. Further, the James plaintiffs alleged that even the lowest pricing schemes were

unconscionably expensive.”270 As a result, common issues predominated.271

          Just so here. The claims of the nationwide classes do not require proof of

deception, turning on individual circumstances. Instead, the unlawful conduct at

issue is two centralized pricing schemes (one for Novo and one for Sanofi) that

harmed all class members in the exact same way—by increasing their payments for

analog insulin (only the amount of damages vary).272 Proof of liability will focus




    268
          2018 WL 3727371, at *7.
    269
          Id.
    270
          Id.
    271
          Id. at *6-*7.
    272
       See Hertz Equip. Rental, 2008 WL 5218267, at *3 (finding that common issues
predominated and certifying nationwide class based on plaintiffs’ contention that
“excessive overpricing can be demonstrated objectively through market analysis, and
financial or economic data”).



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entirely on the defendants’ actions and proof of damages will focus entirely on

pricing data from the defendants and non-party industry middlemen.

      The common issues and evidence that will predominate for proof of

unconscionability include the questions enumerated in Part IV.A.2.b. As

demonstrated in the facts section, the plaintiffs plan to rely exclusively on common

evidence to answer these questions. For example, whether Novo and Sanofi knew

that the class members paid based on list price will not turn on Novo’s and Sanofi’s

knowledge as to a particular individual purchaser; instead, the plaintiffs will prove—

through the defendants’ documents—that Novo and Sanofi understood that

coinsurance, deductible, and cash payments for analog insulin are tied to list price.

Every nationwide class member’s claim will be litigated with the exact same

documents, witnesses, and data.

                    (2)   Class-wide evidence will demonstrate impact and injury
                          for all nationwide class members.

      Plaintiffs will also use common evidence to establish that Novo’s and Sanofi’s

unconscionable conduct impacted all nationwide class members, causing them to

suffer monetary injuries. As previously explained, Dr. Rosenthal uses common

evidence (well-accepted pharmaceutical industry data) to prove that cash,

coinsurance, and deductible consumers pay based on the defendants’ list prices, such

that when the defendants increase their analog insulin list prices, class members



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payments increase by a corresponding sum. To prove this reality, Dr. Rosenthal

compares the defendants’ WAC prices to pharmaceutical industry data on the retail

pharmacy prices of the defendants’ analog insulins.273 Dr. Rosenthal applies the

Pearson correlation coefficient—a statistical test—to measure the linear correlation

between the two prices.274 This analysis, elaborated through graphs275 and a table276

in Dr. Rosenthal’s report, shows that the prices the class members here pay are nearly

perfectly correlated to the defendants’ WACs.277 To “test the robustness of these

results,” Dr. Rosenthal “performed the same analysis on four subsets of the national

data”: sales in four states in the class—Texas, Florida, Illinois, and New Jersey.278

“The results are highly consistent with the national results.”279 Finally, using a

second dataset—data produced by the non-party insurer,




    273
          See supra n. 70.
    274
          Rosenthal Report ¶ 89.
    275
          See supra n. 72.
    276
      Rosenthal Report ¶ 95, Table 2 (listing the correlation coefficients between
WAC and retail prices for all analog insulins at issue in this lawsuit from January
2008 through June 2021).
    277
          See supra n. 74.
    278
      Rosenthal Report ¶ 91 and Fig. 20-22 (Texas), ¶ 92 and Fig. 23-25 (Florida),
¶ 93 and Fig. 26-28 (Illinois), ¶ 94 and Fig. 29-31 (New Jersey).
    279
          Rosenthal Report ¶ 91.



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                     .280 Put another way, Dr. Rosenthal uses common evidence—the

defendants’ list prices, well-accepted pharmaceutical industry data on retail prices,

and data produced by a non-party in this litigation—to show that the defendants’

WACs form the basis for class member payments, leading to class-wide impact when

they increased.281 The Third Circuit has held that similar common evidence of

impact supported a finding of predominance.282

          In addition, plaintiffs will use common evidence to calculate aggregate

damages. The unfair and unconscionable conduct at issue in this case is the

defendants’ decision to raise list prices so that they could offer the most powerful

actors in the supply chain enormous rebates at the expense of class members—sick

individuals and families. As Dr. Rosenthal explains, “[f]rom an economic

perspective, the empirical manifestation of the alleged misconduct is a divergence


    280
          Rosenthal Report ¶ 96, Fig. 32-36.
    281
        Rosenthal Report ¶ 97 (“[M]y analysis corroborates the documentary evidence
showing that both U&C prices for uninsured purchases and pharmacy
reimbursements for insured purchases are based on list prices. Thus, to the extent
that list prices were inflated by the alleged scheme and class members paid a
percentage of or the entire pharmacy price, the class was impacted.”).
    282
       See Suboxone, 967 F.3d at 271 (holding that “common evidence exists to prove
the [plaintiffs’] antitrust theory and the resulting injury” because the “common
evidence . . . would be used to prove that these actions occurred and together
suppressed generic competition, and thereby caused the [plaintiffs] to buy the higher-
priced brand Suboxone products because Reckitt’s actions made it difficult for the
less expensive generics to compete.” (footnote omitted)).



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between the list price and the net price.”283 Therefore, to calculate damages, Dr.

Rosenthal looks at the spread between these prices. First, Dr. Rosenthal applies a

statistical test to common evidence—rebate data produced by the defendants and

IQVIA Xponent data (gold-standard pharmaceutical industry data)—to determine

the point at which “the ratio of net and list prices is statistically significantly

different over two separate time periods.”284 This statistically significant difference in

list-to-net price ratio demarcates the “pre-period”—when the defendants’ behavior

was not unlawful—from the “post-period”—when defendants’ behavior was unlawful.

Second, Dr. Rosenthal uses the relationship between list and net price in the “pre

period” to calculate what the list prices of the relevant insulins should have been in

the post-period absent the defendants’ misconduct, i.e., the “but-for prices.”285 Third,

Dr. Rosenthal calculates “but-for” class member payments (i.e, out-of-pocket costs) by

multiplying the actual class member payments by the “ratio of the but-for [list price]

divided by the actual [list price].”286 Fourth, Dr. Rosenthal subtracts the “but-for”

class member payments from the actual class members payments for the defendants’



    283
          Rosenthal Report ¶ 111.
    284
          Rosenthal Report ¶ 114.
    285
       Rosenthal Report ¶¶ 118, 121, Fig. 37-40 (red lines depicts the but-for AWP
based on the results of Dr. Rosenthal’s analysis).
    286
          Rosenthal Report ¶¶ 123-124.



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analog insulins.287 Dr. Rosenthal calculates the actual class member payments from

common evidence: pharmaceutical industry data on consumer coinsurance,

deductible, and cash payments.288 Fifth and finally, Dr. Rosenthal subtracts all

coupon payments—common data evidence produced by the defendants—from the

difference between real and “but-for” payments to reach aggregate damages.289 Dr.

Rosenthal’s analysis can be used to calculate national or state-level damages using

common evidence (the IQVIA Xponent data).290 For class certification purposes,

from the start of the class periods through 2018, For class certification purposes,

from the start of the class periods through 2018, Dr. Rosenthal calculates that

national overcharges are $512.9 million for Novo and $518.0 million for Sanofi,




    287
          Rosenthal Report ¶¶ 119, 122.
    288
         Rosenthal Report Parts VII.B. & C. Dr. Rosenthal identifies real coinsurance
or deductible payments in the Xponent copay data by determining where the
amount paid is a non-whole number amount. To find such transactions, Dr.
Rosenthal excludes “the following: whole number co-payments; co-pays equal to the
statutory Medicare Part D co-pays over time, and co-payments of $0.” Rosenthal
Report ¶ 120. She confirms this identification of coinsurance and deductible
payments by comparing them with “the claims data produced by the non-parties in
this litigation”—also common evidence. Rosenthal Report ¶ 120. The same dataset—
Xponent, common evidence—identifies actual cash payments. Rosenthal Report
¶ 124.
    289
          Rosenthal report ¶¶ 127-129.
    290
          Rosenthal Report ¶¶ 120, 130, Tables 4a & 4b.



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totaling $1.031 billion.291

          After calculating aggregate damages with common evidence, Dr. Rosenthal,

again, uses common evidence—data produced by non-party PBMs and pharmacies in

this litigation—to demonstrate that the same methodology can be applied to show

damages at the patient level.292

                c.     A class action is superior to other available methods.

          Certification of the nationwide classes is superior to other available methods

for the fair and efficient adjudication of this action. Rule 23(b)(3) provides that

factors relevant to the superiority inquiry include: (1) class members’ interests in

individually controlling the prosecution of separate actions; (2) the extent and

nature of litigation concerning the controversy already begun by class members; (3)

the desirability or undesirability of concentrating the litigation of the claims in the

particular forum; and (4) the likely difficulties in managing a class action.

          Those factors demonstrate a class action is superior here. First, the class

members cannot prosecute separate actions: they do not have the funds necessary to

cover the significant litigation expenses associated with the case. The second and

third factors are also met, because this is the only case challenging defendants’



    291
          Rosenthal Report ¶ 2.
    292
          Rosenthal Report ¶ 131.



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conduct (indeed, the Court has already consolidated multiple lawsuits293 to form this

matter).294 Because the class members’ claims will be litigated with common evidence

the fourth factor is satisfied.295 Without certification of the classes, the cost of

litigating this case would be prohibitive.296

    5.        The nationwide classes should also be certified under Rule 23(b)(2).

          This Court should certify the nationwide classes under Rule 23(b)(2), as well

as Rule 23(b)(3).297 “To certify a (b)(2) class, a court must simply find that ‘the party


    293
          See Order Consolidating Cases, ECF No. 86 (D.N.J. Jan. 19, 2018).
    294
        See, e.g., Portillo v. Nat’l Freight, Inc., 336 F.R.D. 85, 96 (D.N.J. 2020) (“Despite
Defendants’ arguments, ‘no class member’s interests in independently prosecuting
his or her claim would be frustrated by certifying the class at issue here;’ the Court
has not been made aware of any other lawsuits brought by potential class members,
nor have the class members ‘exhibited [any] interest in controlling the prosecution of
this action in this forum or elsewhere.’”) (citation omitted).
    295
      See id. (“[T]here are many reasons that a class action would be more
manageable than other options, especially because of the reliance on common
evidence here.”).
    296
       See Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 161 (1974) (“Economic reality
dictates that petitioner’s suit proceed as a class action or not at all.”); Heinz v. Dubell
Lumber Co., No. 19-8878, 2020 WL 6938351, at *8 (D.N.J. Nov. 25, 2020)
(“Declining to certify the class may result in 157 separate actions on essentially the
same facts with inconsistent outcomes or, perhaps, far more likely, many of the
claims not being brought.”).
    297
      This Court has the power to certify the Class under both subsections. See, e.g.,
Luxama v. Ironbound Express, Inc., No. 11-2224, 2021 WL 287880, at *14 (D.N.J. Jan.
27, 2021) (certifying both Rule 23(b)(2) and 23(b)(3) classes for violation of Truth-In-
Leasing violations); see also 6 Newberg on Class Actions § 20:49 (5th ed.) (“In the




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opposing the class has acted or refused to act on grounds that apply generally to the

class, so that final injunctive relief or corresponding declaratory relief is appropriate

respecting the class as a whole.’”298 A Rule 23(b)(2) class “therefore does not involve

individualized determinations of liability or damages . . . or even require that

individual class members be ascertainable.”299 “Nor does certification require the

‘greater procedural protections’ of (b)(3) classes, such as the opportunity for

individual class members to receive notice of the action or the opportunity to opt

out.”300 Instead, “the class must be ‘cohesive’ such that the members ‘have strong

commonality of interests.’”301

          Without certification of a Rule 23(b)(2) class, Novo and Sanofi could be

found liable for unconscionable conduct but continue their misconduct. In Gayle v.

Warden Monmouth County Correctional Institute,302 the district court held that Rule

23(b)(2) certification was not “necessary” based on its entry of an injunction for the


presence of a need for injunctive relief and more than minimal damage claims,
courts may also certify a separate (b)(2) class for injunctive relief simultaneous to
certifying a (b)(3) class for money damages.”).
    298
       In re Google Inc. Cookie Placement Consumer Priv. Litig., 934 F.3d at 328
(quoting Fed. R. Civ. P. 23(b)(2)).
    299
          Id.
    300
          Id. (quoting Dukes, 564 U.S. at362).
    301
          Id. (quoting Gates v. Rohm & Haas Co., 655 F.3d 255, 263-64 (3d Cir. 2011)).
    302
          838 F.3d 297, 300 (3d Cir. 2016).



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plaintiffs. The Third Circuit reversed and remanded for further consideration of

Rule 23(b)(2) certification. The Court explained that “circumstances in which

classwide relief offers no further benefit . . . will be rare, and courts should exercise

great caution before denying class certification on that basis. After all, the imposition

of individual relief is no guarantee it will be carried over to other class members.”303

The Court further explained that “[w]here class certification is denied on the ground

of necessity, yet would-be class members continue to be subjected to injury, their

only option may be to undertake the expense, burden, and risk of instituting their

own litigation—barriers that in many cases will be prohibitive.”304 On remand, the

district court certified the Rule 23(b)(2) class.305 Similarly here, without certification

of nationwide Rule 23(b)(2) classes, Novo and Sanofi can continue to subject

consumers to unconscionable pricing.306

B.         Thirteen classes should be certified for state-law claims of unfair or
           unconscionable acts against all three defendants.

           Plaintiffs seek certification of thirteen classes for violations of state consumer


     303
           Id. at 310.
     304
           Id. at 311.
     305
      Gayle v. Warden Monmouth Cty. Corr. Inst., No. 12-2806, 2017 WL 5479701, at
*19 (D.N.J. Nov. 15, 2017).
     306
       See Hertz Equip. Rental, 2008 WL 5218267, at *7 (certifying nationwide Rule
23(b)(2) class because “the proposed class is cohesive and the relief sought would
benefit all class members”).



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protection laws prohibiting unfair or unconscionable conduct: (1) three multi-state

classes (one against each defendant) under the FTC standard for unfairness; (2) three

New Jersey-specific classes (one against each defendant) for unconscionable acts; (3)

three Texas-specific classes (one against each defendant) for unconscionable acts; (4)

two Kansas-specific classes (against Novo and Sanofi) for unconscionable acts; and

(5) two Utah-specific classes (against Novo and Sanofi) for unconscionable acts. The

claims for the Kansas-specific and Utah-specific classes are explicitly reserved for the

Court to decide, so they would not be presented to the jury.

    1.      All the states for which plaintiffs seek certification prohibit unfair or
            unconscionable practices.

               a.    All sixteen states that are included in the multi-state classes
                     apply the same three-part test for determining whether an act
                     or practice is “unfair.”

         Liability can be shown with common evidence under the laws of sixteen states

that apply the same test to assess whether an act or practice is “unfair.” That test

requires proof of a substantial injury that is not reasonably avoidable by consumers

and that is not outweighed by the benefits to consumers or competition. Based on

that common test for “unfair” conduct, the plaintiffs seek certification of three

multi-state classes, one for each defendant. As described in the plaintiffs’ motion, the

specific states composing each of the three classes differ, as some of the sixteen states

have no named plaintiff, and therefore no claim, with respect to certain defendants.



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As shown in the following subsections, each of the sixteen states identified in these

class definitions applies the exact same standard for “unfair” conduct.

                       (1)    History of the FTC test for “unfair” conduct.

          Some history is required to show that all sixteen states identified in the multi-

state classes apply the same test for “unfair” acts. As the Third Circuit has described,

in 1964, the FTC “issued a ‘Statement of Basis and Purpose’ for unfair or deceptive

advertising and labeling of cigarettes.”307 Under this so-called “cigarette rule,” the

Court explained, three factors governed unfairness claims: “(1) whether the practice,

without necessarily having been previously considered unlawful, offends public

policy as it has been established by statutes, the common law, or otherwise—whether,

in other words, it is within at least the penumbra of some common-law, statutory or

other established concept of unfairness; (2) whether it is immoral, unethical,

oppressive, or unscrupulous; [and] (3) whether it causes substantial injury to

consumers (or competitors or other businessmen).”308

          In 1972, the Supreme Court held that under the 1964 policy statement, “the

FTC could deem a practice unfair based on the third prong—substantial consumer

injury—without finding that at least one of the other two prongs was also



    307
          Wyndham, 799 F.3d at 243 (citing 29 Fed. Reg. 8324, 8355 (July 2, 1964)).
    308
          Id. (citation omitted) (alteration in original)



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satisfied.”309 Then, in 1980, the FTC issued a policy statement that “‘abandoned’ the

‘theory of immoral or unscrupulous conduct . . . altogether’ as an ‘independent’

basis for an unfairness claim.”310 Instead, the FTC focused “unfairness” on the

“substantial injury” test from the third prong of the cigarette rule.311 The FTC

clarified that a showing of “substantial injury” requires that “the injury must satisfy

three tests. It must be substantial; it must not be outweighed by any countervailing

benefits to consumers or competition that the practice produces; and it must be an

injury that consumers themselves could not reasonably have avoided.”312

          In 1994, “Congress codified the 1980 Policy Statement at 15 U.S.C.

§ 45(n).”313 “Like the 1980 Policy Statement, § 45(n) requires substantial injury that

is not reasonably avoidable by consumers and that is not outweighed by the benefits

to consumers or competition. It also acknowledges the potential significance of

public policy and does not expressly require that an unfair practice be immoral,




    309
          Id. (citing FTC v. Sperry & Hutchinson Co., 405 U.S. 233, 244 n.5 (1972)).
    310
          Id. at 244 (citation omitted) (ellipsis in original).
    311
          Id. (citation omitted).
    312
       FTC Unfairness Policy Statement, Letter from the FTC to Hon. Wendell
Ford and Hon. John Danforth, Senate Comm. on Commerce, Sci., and Transp.
(Dec. 17, 1980), appended to In re Int’l Harvester Co., 104 F.T.C. 949, 1070 (1984).
    313
          Wyndham, 799 F.3d at 244.



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unethical, unscrupulous, or oppressive.”314 So under either the cigarette rule’s third

prong—the “substantial injury” test—or the 1980 FTC policy statement, “unfair” acts

and practices can be proven by meeting the three-part test set forth in section 45(n).

                       (2)    Eight states identified in the multi-state classes explicitly
                              apply the FTC’s current three-part test to determine
                              whether an act is “unfair.”

          Eight states from the multi-state classes explicitly apply the current three-part

“unfairness” test from the 1980 FTC Policy Statement (codified at § 45(n)): (1)

Delaware Consumer Fraud Act, Del. Code Tit. 6, §§ 2511(9), 2513(a); (2) Florida

Deceptive and Unfair Trade Practices Act, Fla. Stat. §§ 501.203(3)(b), 501.204(1);315

(3) Iowa Private Right of Action for Consumer Frauds Act, Iowa Code §§ 714H.2(9),

714H.3(1), 714.16(n);316 (4) Maine Unfair Trade Practices Act, Me. Rev. Stat. Ann.

Tit. 5, § 207(1);317 (5) Maryland Consumer Protection Act, Md. Code Ann., Com.

Law § 13-303;318 (6) North Dakota Consumer Fraud Act, N.D. Cent. Code § 51-15-



    314
          Id.
    315
      Donoff v. Delta Air Lines, Inc., No. 18-81258, 2020 WL 1226975, at *7 (S.D.
Fla. Mar. 6, 2020) (Florida applies three-part test).
    316
       Albaugh v. The Reserve, 930 N.W.2d 676, 685 (Iowa 2019) (Iowa applies three-
part test).
    317
      McGahey v. Fed. Nat’l Mortg. Ass’n, 266 F. Supp. 3d 421, 435 (D. Me. 2017)
(Maine applies three-part test).
    318
       Sager v. Hous. Comm’n of Anne Arundel Cty., 957 F. Supp. 2d 627, 642 (D. Md.
2013) (Maryland applies three-part test).



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02; (7) South Carolina Unfair Trade Practices Act, S.C. Code Ann. § 39-5-20319; and

(8) Tennessee Consumer Protection Act, Tenn. Code Ann. §§ 47-18-104, 47-18-

115.320

                       (3)    Eight more states identified in the multi-state classes
                              apply the three-part “substantial injury” test as part of
                              the older “cigarette rule.”

          Six other states explicitly apply the older “cigarette rule,” under which any

conduct that satisfies the new 1980 Policy Statement (§ 45(n)) standards constitutes

a violation: (1) Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. § 42–

110b;321 (2) Illinois Consumer Fraud and Deceptive Business Practices Act, 815 Ill.

Comp. Stat. 505/2;322 (3) Louisiana Unfair Trade Practices and Consumer

Protection Law, La. Rev. Stat. § 51:1405(A);323 (4) Massachusetts Consumer




    319
       Upstate Plumbing, Inc. v. AAA Upstate Plumbing of Greenville, LLC, No. 17-521,
2018 WL 1471908, at *6 (D.S.C. Mar. 26, 2018) (South Carolina applies three-part
test).
    320
       Morrison v. Allen, 338 S.W.3d 417, 439 (Tenn. 2011) (Tennessee applies three-
part test).
    321
       Cenatiempo v. Bank of Am., N.A., 333 Conn. 769, 802 (2019) (under the
“substantial injury” prong of cigarette rule, three-part test applies).
    322
        Vanzant v. Hill’s Pet Nutrition, Inc., 934 F.3d 730, 738-39 (7th Cir. 2019)
(Illinois applies cigarette rule, including “substantial injury” test).
    323
       Cheramie Servs., Inc. v. Shell Deepwater Prod., Inc., 35 So. 3d 1053, 1059 (La.
2010) (Louisiana applies cigarette rule, including substantial injury test).



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Protection Act, Mass. Gen. Laws Ch. 93A, § 2;324 (5) North Carolina Unfair and

Deceptive Trade Practices Act, N.C. Gen. Stat. § 75-1.1(a);325 and (6) Oklahoma

Consumer Protection Act, Okla. Stat. Tit. 15, § 752(14), 753.326

          Further, the cigarette rule’s third prong—the “substantial injury” test—should

be applied under the laws of two other states. First, the Colorado Consumer

Protection Act now bars “unfair” acts or practices. See Colo. Rev. Stat. § 6-1-

105(1)(kkk).327 In Showpiece Homes Corp. v. Assurance Co. of America,328 the Colorado

Supreme Court discussed the scope of “unfair” acts under the CCPA, favorably

citing Sperry & Hutchinson, in which the U.S. Supreme Court applied FTC’s

“cigarette rule.” Whether the cigarette rule’s “substantial injury” test applies in

Colorado presents a common issue. Second, the Indiana Deceptive Consumer Sales




    324
       Tomasella v. Nestle USA, Inc., 962 F.3d 60, 79 (1st Cir. 2020) (Massachusetts
applies cigarette rule, including “substantial injury” test).
    325
      Bumpers v. Cmty. Bank of N. Va., 367 N.C. 81, 91, 747 S.E.2d 220, 228 (2013)
(North Carolina applies cigarette rule, including substantial injury test).
    326
       Watson v. Vici Cmty. Dev. Corp., No. CIV-20-1011-F, 2021 WL 1394477, at
*12 (W.D. Okla. Apr. 12, 2021) (Oklahoma applies cigarette rule, including
“substantial injury” test).
    327
       The “unfair” acts provision took effect on May 23, 2019. See 2019 Colo.
Legis. Serv. Ch. 268 (H.B. 19-1289). Whether that provision applies retroactively
presents a common issue.
    328
          38 P.3d 47, 54 (Colo. 2001).



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Act has barred “unfair” acts or practices since 2014.329 Courts have not defined

“unfair” under that Act, but an Indiana Law Review article explains that, “like

Connecticut, Indiana should elaborate on the substantial-injury test by using the

Policy Statement as guidance, thus creating a modified Cigarette Rule.”330 This,

again, presents a common issue.

                b.     Four states for which plaintiffs seek class certification prohibit
                       “unconscionable” acts.

          The plaintiffs also propose ten classes under the laws of four states that bar

unconscionable acts.331 Two states, Kansas and Utah, provide that the

unconscionability of an act or practice is for the Court to decide: (1) Kansas




    329
       Ind. Code § 24-5-0.5-3(a); see James R. Strickland, Note, David’s Sling: The
Undetected Power of Indiana’s Deceptive Consumer Sales Act, 51 Ind. L. Rev. 211, 211-12
(2018) (discussing 2014 amendment).
    330
       Id. at 225 (citing McLaughlin Ford, Inc. v. Ford Motor Co., 473 A.2d 1185, 1191
n.12, 1192 (Conn. 1984)); see also Outzen v. Kapsch Trafficcom USA, Inc., No. 20-
1286, 2021 WL 914021, at *12 (S.D. Ind. Mar. 10, 2021) (in denying motion to
dismiss, court cited favorably to David’s Sling as “analyzing the IDCSA’s categorical
bars on ‘unfair, abusive, or deceptive’ acts, omissions, or practices”); Gasbi, LLC v.
Sanders, 120 N.E.3d 614, 620 (Ind. Ct. App. 2019) (“The primary allegations of the
Complaint – that Michiana charged an unfair consumer fee and did not state its
intention as part of the bargaining process – assert conduct generally within the
realm of the Consumer Act.”).
    331
       The class definitions for these four states are identical to the definitions for
the multi-state classes, except that these classes are limited to purchases in each of
the four states (Kansas, New Jersey, Texas, and Utah). See Plaintiffs’ Notice of
Motion.



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Consumer Protection Act, Kan. Stat. § 50-627; and (2) Utah Consumer Sale

Practices Act, Utah Code §§ 13-11-5(1), 13-11-5(2). Plaintiffs seek certification of

classes under Kansas and Utah law against Novo and Sanofi only, because no

plaintiff purchased a Lilly drug in these states.332

          And the plaintiffs seek certification of New Jersey and Texas classes against all

defendants. Those two states ban unconscionable acts but do not reserve the issue

for the Court: (1) New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8-2; (2)

Texas Deceptive Trade Practices Consumer Protection Act, Tex. Bus. & Com. Code

§§ 17.45, 17.50(a). All the state-law classes are ascertainable for the same reasons the

proposed nationwide classes are ascertainable. As Dr. Rosenthal explains, the state in

which a class member made his or her purchase is ascertainable from the data.333

    2.        All the state-law classes satisfy the Rule 23(a) requirements.

          The Rule 23(a) requirements are met for the multi-state classes and the four

individual-state classes for substantially the same reasons as the proposed nationwide




    332
      The proposed class representatives for the Kansas class against Novo are
Kandyce Gunter and Susan Marsh, and the proposed class representative for the
Kansas class against Sanofi is Kandyce Gunter. The proposed class representative for
the Utah class against both Novo and Sanofi is Dianna Gilmore.
    333
       Rosenthal Report ¶ 120 (“Note that the Xponent co pay data show the
number of transactions tabulated by the specific amount paid by consumers for any
given NDC, state, month and insurer.”).



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class, as set forth above. Numerosity is satisfied for each state-law class.334 And the

same common issues exist in each state-law class as for the proposed nationwide

class.335 Further, the state-law class representatives’ claims are typical of the claims of

all class members, because they all “arise from the same event or practice or course of

conduct and are based on the same legal theory.”336 The class representatives and

class counsel are also adequate for the same reasons elaborated for the nationwide

classes.337

    3.        The multi-state and individual-state classes for each defendant should be
              certified under Rule 23(b)(3).

                a.     Variations in state law do not defeat commonality and
                       predominance.

          Third Circuit precedent “provides that ‘variations in the rights and remedies

available to injured class members under the various laws of the fifty states [do] not

defeat commonality and predominance.’”338 “This is so because a finding of

commonality does not require that all class members share identical claims, and

predominance is not considered deficient merely because claims were subject to the


    334
          See supra Part IV.A.2.a.
    335
      See supra Part IV.A.2.b. Those common issues apply equally to “unfair” acts as
to “unconscionable” acts.
    336
          In re Novo Nordisk Sec. Litig., 2020 WL 502176, at *6; see Part IV.A.2.c.
    337
          See Part IV.A.2.d; Exs. 24-62.
    338
          Sullivan, 667 F.3d at 301 (citation omitted) (alteration in original).



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[varying] laws of fifty states.”339 As a result, “it is not surprising” that the Third

Circuit “find[s] no support in [the] Court’s jurisprudence for the proposition that

commonality and predominance are defeated merely because available rights and

remedies differ under the several laws that form the basis for the class claims.”340

          In Sullivan, the Third Circuit cited several cases to support its analysis. For

example, it recounted that “in GM Truck, we approved the certification of

nationwide (b)(3) litigation classes where ‘the laws of the 50 states could be reduced

to [several] general patterns, providing the framework for sub-classes if the

nationwide action had proven unmanageable.’”341 As Sullivan explained, “[t]his

alternative to outright rejection of certification of a nationwide class was deemed to

be especially fitting because it could ‘surmount[ ] some of the individual issues while

retaining some of the substantive advantages of the class action.’”342 And Sullivan

“emphasized [the Third Circuit’s] willingness to certify nationwide classes where

differences in state law fell ‘into a limited number of predictable patterns,’ and any

deviations ‘could be overcome at trial by grouping similar state laws together and



    339
          Id. (citation and internal quotation marks omitted) (alteration in original).
    340
          Id.
    341
         Id. at 302 (quoting In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prod. Liab.
Litig., 55 F.3d 768, 817-18 (3d Cir. 1995) (alteration in original)).
    342
          Id. (quoting GM Truck, 55 F.3d at 818) (second alteration in original).



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applying them as a unit.’”343

          Put simply, “[n]othing in [the Third Circuit’s] case law or the language of Rule

23 commands that everyone in a class must allege precisely identical or ‘uniform’

causes of action, and statutory variations do not defeat predominance in the

presence of other exceedingly common issues.”344 “Instead, as Prudential and GM

Truck explain, where a defendant’s singular conduct gives rise to one cause of action

in one state, while providing for a different cause of action in another jurisdiction,

the courts may group both claims in a single class action. This tactic in litigation

advances the laudatory purposes of the class action device, ‘preserv[ing] the resources

of both the courts and the parties by permitting issues affecting all class members to

be litigated in an efficient, expedited, and manageable fashion.’”345

                b.     Common issues predominate for the state-law classes.

          Here, “statutory variations do not defeat predominance” due to “the presence

of other exceedingly common issues.”346 Indeed, there are only three statutory

variations at issue for jury determination.


    343
      Id. at 301 (quoting In re Prudential Ins. Co. Am. Sales Prac. Litig. Agent Actions,
148 F.3d 283, 315 (3d Cir. 1998)).
    344
          Id. at 302 (citation omitted).
    345
       Id. at 302 (quoting Allison v. Citgo Petrol. Corp., 151 F.3d 402, 410 (5th Cir.
1998) (alteration in original)).
    346
          Id.



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                       (1)    Common issues predominate for the multi-state classes
                              for “unfair” acts.

          There is no variation of law to consider for the multi-state classes because all

sixteen states apply the same three-part test for determining whether conduct is

“unfair.” The plaintiffs will present common evidence to establish that Novo’s,

Sanofi’s, and Lilly’s pricing scheme was unfair under that three-part test, causing all

class member to suffer monetary losses.

          First, plaintiffs will prove, with common damages evidence, that each member

of the three multi-state classes suffered “substantial injury.” For class certification

purposes, from the start of the class periods through 2018, Dr. Rosenthal calculates

overcharges for the state classes as $160.7 million for Lilly, $237.5 million for Novo,

and $206.9 million for Sanofi, totaling $605.1 million.347 The overcharges are visible

from Dr. Rosenthal’s Figures 37 through 40. In these graphics, the blue line

represents the actual AWP, and the red line depicts the but-for AWP that should

have prevailed absent the defendants’ unlawful conduct.348

          Second, as explained in Part II, above, common evidence will show that those



    347
          Rosenthal Report ¶ 2.
    348
       Rosenthal report ¶ 122, Fig. 37-40; see, e.g., Campbell v. First Am. Title Ins. Co.,
644 F. Supp. 2d 126, 135 (D. Me. 2009) (“Plaintiffs’ alleged monetary loss represents
an approximately 23% overcharge and therefore constitutes a sufficient injury”
under the “substantial injury” test).



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substantial injuries were not reasonably avoidable. Class members had to pay the

defendants’ unfairly inflated prices for their prescribed analog insulins because they

need these drugs to survive, and all therapeutically interchangeable analog insulins

were (and are) infected by the same unfairly inflated prices. In discussing the

“reasonably avoidable standard,” the FTC noted that it has “long been recognized”

that “certain types of sales techniques may prevent consumers from effectively

making their own decisions, and that corrective action may then become

necessary.”349 As the FTC further emphasized,

                Most of the Commission’s unfairness matters are brought under
                these circumstances. They are brought, not to second-guess the
                wisdom of particular consumer decisions, but rather to halt some
                form of seller behavior that unreasonably creates or takes
                advantage of an obstacle to the free exercise of consumer
                decisionmaking.350

Here, the defendants drastically inflated their list prices to effectuate their spread

scheme, knowing that the class must pay the exorbitant prices increases or else forgo

the essential medicine their physician prescribed.351 And the defendants are fully

aware of the severe medical consequences of inadequate insulin treatment.352


    349
          H.R. Rep. No. 156, Pt. 1, 98th Cong., 1st Sess. 37 (1983).
    350
          Id.
    351
          See supra Part II.B.2 & II.B.3.
    352
          See supra Part II.B.3.



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          Third, plaintiffs will use common evidence to show that the multi-state class

members’ injuries are not outweighed by any benefit to consumers or competition.353

Indeed, the plaintiffs will show that the defendants subverted the normal benefits of

competition—lower consumer prices—by inflating their list price to offer rebates.

Plaintiffs’ showing will be consistent with other cases where courts have found the

manipulation of AWP to be unfair.354 As a result, the multi-state classes should be

certified.355


    353
        Barakezyan v. BMW of N. Am., LLC, 715 F. App’x 762, 763 (9th Cir. 2018)
(“[T]he CCB’s price premium, acquired through failing to disclose a substantial
safety hazard, is a substantial consumer injury. That injury is not reasonably
avoidable by consumers and there is no countervailing benefit to consumers or
competition by BMW failing to disclose its allegedly defective and dangerously loud
CCBs.”). Here, the unfairness is more extreme, because Class members have no
choice but to pay exorbitant prices or forgo taking the drugs prescribed by their
physicians.
    354
       See, e.g., In re Miss. Medicaid Pharm. Average Wholesale Price Litig., 190 So. 3d
829, 841 (Miss. 2015) (“[T]he trial court did not manifestly err in determining that
Sandoz’s conduct was unfair and deceptive within the meaning of Mississippi’s
Consumer Protection Act. Sandoz’s unfair reporting of fictitious AWPs caused the
substantial injury of $23,661,618 in overpayments to pharmacies participating in
Medicaid. No ‘countervailing benefits to consumers or competition’ resulted from
Sandoz’s conduct.”); see also In re Pharm. Indus. Average Wholesale Price Litig., 582 F.3d
156 (1st Cir. 2009) (affirming district court’s finding that use of AWP was unfair
under Massachusetts consumer protection act).
    355
       See In re Namenda Indirect Purchaser Antitrust Litig., 338 F.R.D. 527, 575
(S.D.N.Y. 2021) (certifying fourteen state-law classes for “unfair” conduct, because
“Defendants have not cited a single case demonstrating that these consumer-
protection statutes are applied by their respective states in ways that would lead to a
substantive difference with the laws of the rest of the states”).



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                       (2)   Common issues predominate for the four individual-
                             state classes, which allege unconscionable acts.

          Common issues predominate for claims under the laws of two states (Kansas

and Utah) that prohibit unconscionable acts but require the Court to decide the

issue. Those states provide standards for unconscionability that will not require any

individualized evidence (other than the class members’ individual damages), because

defendants’ conduct is identical as to all class members.356

          Similarly, the claims under the laws of New Jersey and Texas, which bar

unconscionable acts and practices but do not reserve the issue for the Court will be

resolved with common evidence.357 Under the NJCFA, an “unconscionable


    356
        See Kansas Consumer Protection Act, Kan. Stat. § 50-627; Utah Consumer
Sales Practices Act, Utah Code § 13-11-5. Conduct resulting in inflated prices such
as here violates those statutes. See Nieberding v. Barrette Outdoor Living, Inc., 302
F.R.D. 600, 617 (D. Kan. 2014) (certifying class for claim under Kansas Consumer
Protection Act where plaintiffs claimed unconscionable conduct based on claim that
defendant “sold the railing products for a grossly excessive price”); In re Aftermarket
Filters Antitrust Litig., No. 08-4883, 2009 WL 3754041, at *9 (N.D. Ill. Nov. 5, 2009)
(“Utah’s Consumer Sales Practices Act, Utah Code Ann. § 13-11-2, prohibits
‘deceptive or unconscionable acts or practices,’ Carlie v. Morgan, 922 P.2d 1, 5 (Utah
1996), which includes sales that result in a gross disparity between the value received
and the price paid. Plaintiffs have pled that they have paid supra-competitive prices
for the filters. Again, this is sufficient to allege such a gross disparity.”).
    357
         See Part IV.B.1.b. Courts have held that conduct resulting in inflated prices
can violate the New Jersey and Texas statutes. See Kugler v. Romain, 58 N.J. 522, 545
(1971) (“exorbitant prices” were unconscionable under NJCFA); Harris Cty., Tex. v.
Eli Lilly & Co., No. 19-4994, 2021 WL 1141420, at *1 (S.D. Tex. Mar. 25, 2021)




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commercial practice” is a practice that lacks good faith, honesty in fact and

observance of fair dealing.358 And an “unconscionable action” under Texas Law is a

practice which, “to a consumer’s detriment, takes advantage of the lack of

knowledge, ability, experience, or capacity of the consumer to a grossly unfair

degree.”359 Under those standards, individualized evidence will not be required to

establish liability and aggregate damages.

                c.     Reliance is not at issue for any of the twenty state laws under
                       which the plaintiffs seek to certify classes.

          Individual reliance is not required for claims of unconscionable and unfair

acts under the laws of the twenty states at issue. Most of those states do not require

proof of reliance for any claim under their consumer protection acts.360 And all the


(denying motion to dismiss under Texas Deceptive Trade Practices Act, where
plaintiff county alleged that “the Manufacturer Defendants artificially raised their
reported prices and then secretly refunded a significant portion of the increase to
the PBM Defendants,” and “that it spends millions of dollars on diabetes
medications and that a substantial part of the amount it spends can be attributed to
the inflated prices due to the Insulin Pricing Scheme”).
    358
          James I, 2018 WL 3736478, at *7-*8.
    359
          Tex. Bus. & Com. Code §§ 17.50(a)(3); 17.45(5).
    360
        Connecticut: L.S. v. Webloyalty.com, Inc., 673 F. App’x 100, 105 (2d Cir. 2016)
(“reliance is not an element of a CUTPA claim”). Delaware: Teamsters Loc. 237
Welfare Fund v. AstraZeneca Pharms. LP, 136 A.3d 688, 693 (Del. 2016) (proof of
reliance not required). Florida: Carriuolo v. Gen. Motors Co., 823 F.3d 977, 983-84
(11th Cir. 2016) (actual reliance not required). Illinois: Vanzant, 934 F.3d at739
(“‘[R]eliance is not an element of statutory consumer fraud.’”) (citation omitted)




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other states for which plaintiffs seek certification require proof of reliance only for

claims based on affirmative misrepresentations.361


(alteration in original). Iowa: Brown v. La.-Pac. Corp., 820 F.3d 339, 348-49 (8th Cir.
2016) (“Our focus is on the precise language of the Iowa Private Right Act—whether
Brown suffer[ed] an ascertainable loss of money or property as the result of a
prohibited practice.’ ‘[T]he phrase ‘as a result of’ can be ‘naturally read simply to
impose the requirement of a causal connection.’ . . . Iowa courts apply a but-for test
in determining whether a ‘defendant in fact caused the plaintiff’s harm.’”) (citations
omitted) (alterations in original). Louisiana: Cheramie Servs., Inc., 35 So. 3d at 1057
(“LUTPA grants a right of action to any person, natural or juridical, who suffers an
ascertainable loss as a result of another person’s use of unfair methods of
competition and unfair or deceptive acts or practices in the conduct of any trade or
commerce.”). Massachusetts: In re Pharm. Average Wholesale Price Litig., 582 F.3d at
185 (proof of “actual reliance” not required). North Dakota: North Dakota
Consumer Fraud Act, N.D. Cent. Code § 51-15-09 (requiring only that plaintiffs
suffered losses “by means of” unlawful conduct). South Carolina: Williams v. Quest
Diagnostics, Inc., 353 F. Supp. 3d 432, 450 (D.S.C. 2018) (plaintiff must only prove
“ascertainable damages as a result of the defendant’s use of the unlawful trade
practice”). Tennessee: Harding v. BMW of N. Am., LLC, No. 20-61, 2020 WL
5039439, at *4 (M.D. Tenn. Aug. 26, 2020) (“a plaintiff is not required to show
reliance . . . but rather is only required to show that [the defendant’s] wrongful
conduct proximately caused his injury”) (citation and internal quotation marks
omitted) (alteration in original). Utah: Banh v. Am. Honda Motor Co., Inc., No. 19-
5984, 2020 WL 4390371, at *14 (C.D. Cal. July 28, 2020) (“Utah does not appear
to impose a reliance requirement.”).
    361
        Colorado: Hamilton v. TBC Corp., 328 F.R.D. 359, 380 (C.D. Cal. 2018)
(“although ‘[r]eliance often provides the key causal link between a consumer’s injury
and a defendant’s deceptive practice,’ reliance is not required” for CCPA claim)
(citation omitted) (alteration in original). Indiana: Ind. Code Ann. § 24-5-0.5-10 (no
requirement of reliance for proof of unconscionable act); Gasbi, LLC s, 120 N.E.3d
at 620 (plaintiff stated valid claim that defendant “charged an unfair consumer fee”
without any allegation of reliance). Kansas: Nieberding, 302 F.R.D. at615 (reliance
required only for claims based on affirmative misrepresentations). Maine: GxG




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                d.     The plaintiffs will prove impact and damages through class-
                       wide evidence for all state-law classes.

          The plaintiffs will prove impact and damages for all state-law class members

through class-wide, common evidence for all twenty states. As previously explained,

the plaintiffs will use common evidence to show that all class members overpaid due

to the defendants’ unfair or unconscionable conduct.362 And that showing does not

depend on any individualized evidence for any class member; the overcharges will be




Mgmt., LLC v. Young Bros. & Co., 457 F. Supp. 2d 47, 51 (D. Me. 2006) (granting
summary judgment on claim for deception under Unfair Trade Practices Act
because “there simply is no evidence of detrimental reliance” but nonetheless
denying summary judgment on “unfair act” claim despite lack of reliance);
Maryland: Sager, 957 F. Supp. 2d at642-43 (defendant’s conduct was not deceptive
where plaintiff was not “fraudulently induced into signing the document,” but claim
for “unfair” conduct nonetheless survived because a tenant “may have no other
option than to agree to a lease term that effectively places the burden on the tenant
to ensure that her landlord abides by a commonly accepted-and legally mandated-
definition of rent”); North Carolina: In re Hester, No. 11-4375, 2015 WL 6125308,
at *4 (Bankr. E.D.N.C. Oct. 16, 2015) (under North Carolina law, reliance not
required for claim based on unfair act); In re Checking Acct. Overdraft Litig., No. 10-
22190, 2016 WL 5848729, at *4 (S.D. Fla. Feb. 8, 2016) (same); In re TD Bank, N.A.,
150 F. Supp. 3d 593, 638-39 (D.S.C. 2015) (same). Oklahoma: Patterson v. Beall, 19
P.3d 839, 846 (Okla. 2000) (requiring only that “the challenged practice caused the
plaintiff’s injury” in holding that plaintiff adequately claimed “unfair trade
practice”). Texas: Tex. Bus. & Com. Code § 17.50(a)(1), (3) (recovery allowed for
“false, misleading, or deceptive act or practice” only if “relied on by a consumer to
the consumer’s detriment” but allowing recovery based on “any unconscionable
action or course of action by any person” without proof of reliance).
    362
          See Part IV.A.4.b(2).



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calculated using common evidence.363

                  e.     The class action mechanism is superior.

          Certification of the individual-state classes, along with multi-state classes, is

the superior method of litigating the class members’ claims. As explained above, the

sixteen states identified in the multi-state classes apply the same standard for

“unfair” acts, and the other four states apply similar standards for assessing whether

conduct is unconscionable (with two states requiring the Court to decide whether

the conduct is unconscionable). As a result, litigating the state-law classes will not

present any insuperable management problems, as shown in the proposed trial plan

that the plaintiffs file concurrently with this brief.364 As the Third Circuit has

explained, “any deviations [in state laws]‘could be overcome at trial by grouping

similar state laws together and applying them as a unit.’”365

    4.          The state-law classes should also be certified under Rule 23(b)(2).

          The state-law classes should be certified under Rule 23(b)(2) for the same

reasons that the proposed nationwide class should be certified under that Rule.366




    363
          Id.
    364
          See Ex. 4 (Plaintiffs’ Trial and Allocation Plan).
    365
          See Sullivan, 667 F.3d at 301 (quoting Prudential, 148 F.3d at 315).
    366
          See Part IV.A.5.



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C.         Steve W. Berman of Hagens Berman and James E. Cecchi of Carella Byrne
           should be appointed as class counsel under Rule 23(g).

           Under Rule 23(g)(1), “a court that certifies a class must appoint class counsel.”

Under Rule 23(g)(1)(A), the Court must consider: “(1) the work counsel has done in

identifying or investigating potential claims in the action; (2) counsel’s experience in

handling class actions, other complex litigation, and claims of the type asserted in

the action; (3) counsel’s knowledge of the applicable law; and (4) the resources

counsel will commit to representing the class.”367

           This Court has already appointed Steve Berman and James Cecchi interim co-

lead counsel.368 For the same reasons, they should now be appointed class counsel

for the proposed classes. As to the first and fourth factors, proposed class counsel

has performed extensive, thorough work on behalf of plaintiffs and the proposed

classes, devoting considerable resources to the effort. As for the second and third

factors, this Court has already explained that proposed class counsel have




     367
           Carney v. Goldman, No. 15-260, 2018 WL 2441766, at *14 (D.N.J. May 30,
2018).
     368
        See In re Insulin Pricing Litig., 2017 WL 4122437, at *3 (D.N.J. Sept. 18, 2007)
(“[A]ll parties will be well served by the appointment of Steve W. Berman of Hagens
Berman and James E. Cecchi of Carella Byrne as interim lead counsel. . . . The team
has successfully tried similar claims against comparable defendants. See In re Pharma.
Indus. Average Wholesale Price Litig., MDL No. 1456 (D. Mass.)”).



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“successfully tried similar claims against comparable defendants.”369

                                    V.     C ONCLUSION

          The plaintiffs respectfully request that the Court certify the proposed classes.

Without Rule 23(b)(3) class certification, no plaintiff or putative class member will

be able to seek compensation for the grossly inflated prices they have paid for an

essential medicine based on the defendants’ unfair and unconscionable conduct.

And without Rule 23(b)(2) certification, the defendants will continue their pricing

practices with impunity.


DATED: March 1, 2022

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    369
          Id.



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                           CERTIFICATE OF SERVICE

     I certify that on March 1, 2022, I caused the foregoing to be served on ALL

DEFENSE COUNSEL OF RECORD through email.



                                                /s/ James E. Cecchi
                                                James E. Cecchi




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                 A PPENDIX A: A NALOG I NSULIN AVAILABLE IN THE U NITED S TATES

                                                               Launch Date         List Price in 2019

Action         Brand     Generic Name          Company                             (WAC)

Rapid-         Humalog Insulin Lispro          Eli Lilly       June 1996i          $530.40 (penii)

Acting                                                                             $510.45 (vialiii)

               (none)    Insulin Lispro        Eli Lilly       March 2019iv        ---

               Novolog   Insulin Aspart        Novo Nordisk June 2000v             $558.83 (penvi)

                                                                                   $289.36 (vialvii)

               (none)    Insulin Aspart        Novo Nordisk January 2020viii       ---

               Apidra    Insulin Glulisine     Sanofi          April 2004ix        $651.76 (penx)

                                                                                   $337.39 (vialxi)

               Fiasp     Insulin Aspart        Novo Nordisk September              $558.83 (penxiii)

                                                               2017xii             $289.36 (vialxiv)




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                 A PPENDIX A: A NALOG I NSULIN AVAILABLE IN THE U NITED S TATES

                                                                Launch Date         List Price in 2019

Action         Brand      Generic Name          Company                             (WAC)

               Admelog Insulin Lispro           Sanofi          December            ---

                                                                2017xv

               Lyumjev    Insulin Lispro        Eli Lilly       June 2020xvi        ----

Long-Acting Lantus        Glargine              Sanofi          April 2000xvii      $425.31 (penxviii)

                                                                                    $283.56 (vialxix)

               Levemir    Detemir               Novo Nordisk June 2005xx            $462.21 (FlexTouchxxi)

                                                                                    $308.14 (vialxxii)

               Basaglar   Glargine              Eli Lilly       December            $326.36 (penxxiv)

                                                                2016xxiii

               Toujeo     Glargine              Sanofi          February 2015xxv $647.87 (penxxvi)




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                 A PPENDIX A: A NALOG I NSULIN AVAILABLE IN THE U NITED S TATES

                                                            Launch Date          List Price in 2019

Action         Brand     Generic Name        Company                             (WAC)

               Tresiba   Insulin Degludec    Novo Nordisk December               $610.11 (penxxviii)

                                                            2016xxvii

               Semglee   Insulin Glargine-   Viatris        July 2021xxix        ---

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    i
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    ii
    Humalog KwikPen 100unit/ml Pre-Filled Pen Solution for Injection (box, 5 pens, 3 ml Insulin Lispro
100U/1mL, Solution for injection) (2017).
    iii
      Humalog 100unit/ml Cartridge Solution for Injection (box, 5 cartridges, 3 ml Insulin Lispro 100U/1mL,
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    iv
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details/lilly-introduce-lower-priced-insulin.
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986_NovoLog.cfm#:~:text=Approval%20Date%3A%206%2F7%2F2000.
    vi
     Novolog FlexPen Prefilled Syringe 100unit/ml Solution for Injection (box, 5 pre-filled syringes, 3 ml Insulin
Aspart (Recomb) 100U/1mL, Solution for injection) (2018).
    vii
       Novolog 100unit/ml Solution for Injection (vial, 10 ml Insulin Aspart (Recomb) 100U/1mL, Solution for
injection) (2018).
    viii
       BeyondType1, Half-Price Generics of Novolog and Novolog Mix Announced by Novo Nordisk, available at
https://beyondtype1.org/generic-novolog-announced/.
    ix
      Food & Drug Admin., Drug Approval Package Apidra, available at
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    x
    Apidra SoloStar 100units/ml Pre-Filled Pen Solution for Injection (box, 5 pens, 3 ml Insulin Glulisine
100U/1mL, Solution for injection) (2018).
    xi
     Apidra 100unit/ml Solution for Injection (vial, 10 ml Insulin Glulisine 100U/1mL, Solution for injection)
(2018).
    xii
      Food & Drug Admin., Drug Approval Package Fiasp, available at
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2017/208751Orig1s000TOC.cfm.
    xiii
      Fiasp FlexPen Prefilled Syringe 100unit/ml Solution for Injection (box, 5 pre-filled syringes, 3 ml Insulin
Aspart (Recomb) 100U/1mL, Solution for injection) (2018).
    xiv
       Fiasp 100unit/ml Solution for Injection (vial, 10 ml Insulin Aspart (Recomb) 100U/1mL, Solution for
injection) (2018).
    xv
      Sanofi, FDA Approves Sanofi’s Admelog (insulin lispro injection), available at https://www.news.sanofi.us/2017-12-
11-FDA-Approves-Sanofis-Admelog-R-insulin-lispro-
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       Lilly, FDA Approves Lyumjev (insulin lispro-aabc injection) 100 units/mL for use in insulin pumps, available at
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4%2F20%2F2000.
    xviii
     Lantus SoloStar 100units/ml Pre-Filled Pen Solution for Injection (box, 5 pens, 3 ml Insulin Glargine
100U/1mL, Solution for injection) (2018).




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    xix
      Lantus 100units/mL Solution for Injection (vial, 10 ml Insulin Glargine 100U/1mL, Solution for injection)
(2018).
    xx
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536_LevemirTOC.cfm#:~:text=Approval%20Date%3A%206%2F16%2F2005.
    xxi
     Levemir FlexTouch 100units/ml Solution for Injection (box, 5 pre-filled syringes, 3 ml Insulin Detemir
(Recombinant) 100U/1mL, Solution for injection) (2016).
    xxii
       Levemir 100units/ml Solution for Injection (vial, 10 ml Insulin Detemir (Recombinant) 100U/1mL, Solution
for injection) (2018).
    xxiii
        Boehringer Ingelheim, FDA Approves Basaglar (insulin glargine injection), a Long-Acting Insulin Treatment, available
at https://www.boehringer-ingelheim.us/press-release/fda-approves-basaglarr-insulin-glargine-injection-long-acting-
insulin-treatment.
    xxiv
     Basaglar KwikPen 100units/mL Pre-Filled Pen Solution for Injection (box, 5 pens, 3 ml Insulin Glargine
100U/1mL, Solution for injection) (2017).
    xxv
       Food & Drug Admin., Drug Approval Package Toujeo, available at
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    xxvi
     Toujeo SoloStar 300units/mL Pre-Filled Pen Solution for Injection (box, 5 pens, 1.5 ml Insulin Glargine
300U/1mL, Solution for injection) (2018).
    xxvii
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   xxviii
       Tresiba Insulin Degludec 200units/mL Pre-Filled Pen Solution for Injection (box, 3 pens, 3 ml Insulin
Glargine 200U/1mL, Solution for injection) (2018).
   xxix
       Food & Drug Admin., Drug Approval Package Semglee, available at
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